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                         No. 18-1976, -2023


                United States Court of Appeals
                    for the Federal Circuit
    GLAXOSMITHKLINE LLC AND SMITHKLINE BEECHAM (CORK) LIMITED,
                                             Plaintiffs-Appellants,

                                        v.

                      TEVA PHARMACEUTICALS USA, INC.,
                                             Defendant-Cross-Appellant,
__________________________________________________________________
    APPEALS FROM THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF DELAWARE,
             CASE NO. 14-CV-878-LPS-CJB, DISTRICT JUDGE LEONARD P. STARK
__________________________________________________________________

                           GSK’S OPENING BRIEF
______________________________________________________________________________

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July 16, 2018
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                              CERTIFICATE OF INTEREST

       1.     The full name of every party represented by me is: GlaxoSmithKline

LLC and SmithKline Beecham (Cork) Ltd.

       2.     The name of the real party in interest (if the party named in the caption

is not the real party in interest) represented by me is: N/A.

       3.     All parent corporations and any publicly held companies that own 10

percent or more of the stock of the party represented by me are: GlaxoSmithKline

plc.

       4.     The names of all law firms and the partners or associates that appeared

for the party now represented by me in the trial court or agency or are expected to

appear in this Court are: Fish & Richardson P.C.: Juanita R. Brooks, Jonathan E.

Singer, Craig E. Countryman, Michael A. Amon, Douglas E. McCann, Elizabeth M.

Flanagan, Michael J. Kane, William R. Woodford, John Farrell, Phillip Goter, Jeremy

Anderson, Robert M. Yeh, Ryan O'Connor, Jeremy Saks, W. Chad Shear, Limin

Zheng*, Santosh Coutinho*. * = No longer with firm.

       5.     The title and number of any case known to counsel to be pending in this

or any other court or agency that will directly affect or be directly affected by this

court’s decision in the pending appeal: GlaxoSmithKline LLC, et al. v. Glenmark

Pharmaceuticals Inc., USA, et al., Case No. 14-cv-877-LPS-CJB (D. Del.).


Dated: July 16, 2018                             /s/ Craig E. Countryman
                                                 Craig E. Countryman

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                           STATEMENT OF RELATED CASES

      No prior appeal from this case has been before this or any other appellate

court, nor is there any other currently pending appeal from this proceeding.

      One other district court case may be impacted by the outcome in this appeal—

GlaxoSmithKline LLC, et al. v. Glenmark Pharmaceuticals Inc., USA, et al., Case No. 14-cv-

877-LPS-CJB (D. Del.). That case involves the same patent at issue here; the parties

have requested a stay pending the outcome of these proceedings.




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                            STATEMENT OF JURISDICTION

      This is an appeal from a final judgment of non-infringement from a district

court entered on April 25, 2018. (Appx29–30.) GSK timely filed its notice of appeal

on May 14, 2018, and Teva timely filed a conditional cross-appeal on May 25, 2018,

both within the 30-day deadline set by Federal Rule of Appellate Procedure 4(a)(1)(A).

(Appx12110–12113.) This Court thus has jurisdiction over both appeals under 28

U.S.C. § 1295(a)(1).




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                                 STATEMENT OF THE ISSUE

         Whether substantial evidence supports the jury’s verdict that Teva willfully

induced infringement of GSK’s patented method of treating congestive heart failure

where:

         a. Teva encouraged the infringing use in promotional materials communicated

            to doctors, such as product catalogs, product reference guides, press

            releases, and product information on its website, including by advertising

            that its product should be used just like GSK’s Coreg® product;

         b. Teva provided instructions for the infringing use on the labels it distributed

            with its generic drug product and encouraged doctors to read the labels;

         c. GSK’s expert testified that Teva’s promotional materials and labels caused

            him and other physicians to use Teva’s product just like Coreg® to treat

            congestive heart failure in an infringing manner; and

         d. Teva intended to induce physicians to prescribe its generic carvedilol in an

            infringing manner.




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                                    INTRODUCTION

       This case is about Teva’s willful infringement of GSK’s patent on a

revolutionary method of treating heart failure. GSK defied conventional wisdom by

treating heart failure with carvedilol—a drug that doctors thought would kill heart

failure patients. It turned out the opposite was true. Carvedilol was so effective (it

reduced the risk of death by over 65%) that clinical trials were halted so patients on

placebo could immediately take carvedilol. GSK’s new approach changed the

standard of care and guidelines for heart failure.

       Before launching a generic copy of GSK’s Coreg® carvedilol product, Teva

promoted it as a complete substitute for Coreg®, including its use for treating heart

failure—the patented use. Teva continued that promotion after launch through its

product catalogs, product reference guides, website, and drug labeling. Although

Teva’s original label included a subset of the information on treating heart failure (but

still enough to infringe), Teva eventually replaced this “partial” label with a “full” label

that contained everything on GSK’s Coreg® label. Teva admitted that it intended for

doctors to prescribe its generic carvedilol in an infringing manner. And Teva’s efforts

were successful—it ultimately captured half the market for generic carvedilol. At trial,

GSK’s expert cardiologist testified that Teva’s promotional materials and labels

caused him and other doctors to infringe GSK’s patent. The jury credited this

testimony and GSK’s other evidence and found that Teva willfully induced

infringement during both the “partial” and “full” label periods.

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       After trial, however, the district court set aside the jury’s infringement finding.

In doing so, the court improperly reweighed the evidence—giving little or no weight

to GSK’s evidence while crediting Teva’s. This error alone warrants reversal.

       The court further erred by holding that Teva’s encouragement of the patented

use was insufficient because GSK had already educated doctors about how to use

Coreg® before Teva launched its generic product. Precedent permits a jury to infer

inducement where, as here, the defendant communicates promotional materials

encouraging the infringing use to direct infringers. Teva encouraged the infringing

use, in part, by telling doctors to use its drug just like Coreg®. So the fact that

doctors’ prior experience influenced how they used Teva’s product reinforces liability,

because Teva relied on that prior experience to encourage infringement.

       The district court’s approach, if allowed to stand, will have broad implications,

particularly for pharmaceuticals. In nearly every case, the innovator promotes a drug’s

patented use and establishes a standard of care before generic entry. If those activities

absolve the generic from inducement, method patents will have little value, and

innovators will have no incentive to invest in new uses for existing drugs. It will also

allow generics to bypass the Hatch-Waxman framework, because generics will simply

launch and use the innovator’s prior work as a non-infringement defense. Moreover,

if an inducer can avoid liability by simply offering evidence that a factor outside its

activities may have also influenced infringement, proving inducement will be

impossible. The judgment should be reversed.

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                              STATEMENT OF THE FACTS

I.     GSK’s Patented Invention: A New Treatment Method that Prolongs the
       Lives of Heart Failure Patients.
       A.     GSK’s Inventors Defy Conventional Wisdom by Administering a
              Beta-Blocker (Carvedilol) to Treat Heart Failure.
       GSK’s U.S. Patent RE40,000 claims an unexpected breakthrough in the

treatment of congestive heart failure. Heart failure stems from the left ventricle’s

inability to pump enough blood to the body’s organs. (Appx10359–10360;

Appx10601–10604; Appx11519.) The heart’s ability to pump blood is often measured

by the “ejection fraction,” which is the percentage of blood pumped out of the left

ventricle each time it contracts. A heart with a normal ejection fraction pumps out

55% to 70%, while a heart in failure typically pumps out less than 40%. (Id.) Heart

failure causes a range of symptoms, including fatigue, shortness of breath, and,

eventually, the inability to exert oneself physically. (Id.) Prior treatments sometimes

improved patients’ symptoms but did not extend patients’ lives, making heart failure

“a death sentence” with “more grave mortality than most cancers.” (Appx10361–

10362.) Half of heart failure patients died within five years of their diagnosis. (Id.)

This left a “clear need for additional pharmacotherapy to improve quality of life and

life expectancy.” (Appx3408–3410 at Appx3409.)

       GSK’s inventors devised a new heart failure treatment that defied the

conventional wisdom and prolonged many thousands of lives. When GSK’s

inventors began work with carvedilol, the prevailing view was not to give a beta-


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blocker like carvedilol to a heart failure patient. (See, e.g., Appx10357–10364;

Appx11267, Appx11279; Appx6372; Appx4298; Appx11393–11395.) Beta-blockers

were “contraindicated” because skilled artisans were worried that administering “a

standard dose” would decrease heart rate and worsen the heart’s pumping function,

exacerbating the problem from which heart failure patients suffer. (Appx10357–

10358; Appx11687.)

      Despite significant positive preclinical work, including thousands of

experiments resulting in numerous publications, GSK’s inventors had to fight for

permission to even attempt a clinical trial because of carvedilol’s contraindication.

(See Appx11272-11279.) They were only able to do so after agreeing to establish a

Data Safety and Monitoring Board to watch how patients were progressing—a

departure from the usual practice of blinded clinical trials. (Appx11280, Appx11286–

11287; Appx10436–10438, Appx10371–10372; Appx44 at 6:15–35, Appx2996–3002

at Appx2997.) When inventor Robert Ruffolo learned that the Board had halted the

trial, he feared the worst, thinking “oh my God, it killed people, just like everybody

said, and it’s my fault.” (Appx11282.)

      But to Dr. Ruffolo’s great relief, and to the great benefit of many heart failure

patients and their loved ones, the trial wasn’t stopped because someone died.

(Appx11282, Appx10372–10373.) Quite the opposite. Carvedilol was so effective in

reducing the risk of death “that it was no longer ethical” to continue administering

placebo and denying some patients the benefit of the treatment. (Id.) As a

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subsequent New England Journal of Medicine article reported, treating heart failure

patients with the inventors’ method of administering carvedilol resulted in a

“reduction in risk” of death of “65 percent.” (Appx2996.) The inventors were “really

shocked” by their own success, and, “to have this effect be as large as it was, was

completely unexpected.” (Appx10374.) These results, the culmination of over 10

years’ work, led the FDA to approve carvedilol as the first-ever beta-blocker for heart

failure in 1997, changing the standard of care. (Appx10376–10379, Appx10383–

10385; Appx6422; Appx3055.) GSK sold carvedilol for heart failure and other uses

under the Coreg® name.

      B.     GSK Obtains FDA Approval for an Additional Group of Heart
             Failure Patients—Those Also Suffering from “Post-MI LVD.”
      GSK’s research efforts didn’t stop after Coreg®’s initial approval for heart

failure. Heart failure is a broad disease that includes a wide spectrum of patients—

some in the early stages with few symptoms and others in the later stages with severe

problems. (Appx10378–10383.) GSK ran additional clinical trials so that patients at

both ends of the spectrum could be treated with carvedilol. (Id.)

      One of the disputes at issue in this appeal involves the category of patients on

the earlier end of the heart failure spectrum. These patients have recently suffered a

heart attack (i.e., a “myocardial infarction” (MI)) and their hearts have trouble

pumping blood (i.e., “left ventricular dysfunction” (LVD) where the ejection fraction

was 40% or below). (Appx10381–10382; Appx11963.) Some of these “post-MI


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LVD” patients already have the symptoms of heart failure, while others don’t have

them yet. (Appx10381–10382, Appx10602–10605; Appx11520.) But, in either case,

these patients have “an early form of heart failure,” because “the left ventricle cannot

pump out and keep a normal ejection fraction.” (Appx10603.) Indeed, Teva’s expert

agreed that “a patient who has a left ventricular ejection fraction of less than or equal

to 40 percent with symptomatic heart failure would [be] diagnosed as suffering from

congestive heart failure.” (Appx11226.)

      GSK obtained FDA approval to sell Coreg® for this “post-MI LVD”

indication in 2003. It then added indication 1.2 to the Coreg® label, which addressed

reducing the risk of death in post-MI LVD patients that have a left ventricular

ejection fraction of 40% or less “with or without symptomatic heart failure.”

(Appx7665.) GSK’s label thus instructed doctors to give certain post-MI LVD

patients Coreg® to treat heart failure. Moreover, when seeking approval for the post-

MI LVD indication, GSK explained that LVD and heart failure “are part of a single

disease continuum,” (Appx11965), and that the “post-MI LVD” indication addressed

“the beginning of the heart failure continuum.” (Appx11963 see also Appx11968–

11969.) GSK also noted that about half of post-MI LVD patients in the clinical trial

also had symptoms of congestive heart failure. (See Appx11964.)




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      C.     GSK’s Patent Claims Its Breakthrough Method of Administering
             Carvedilol to Reduce the Risk of Mortality from Heart Failure.
      GSK sought patent protection in 1995 for its breakthrough heart failure

treatment to protect the hundreds of millions of dollars it had invested. (Appx4294;

Appx10501–10505; Appx10349–10350; Appx10791–10793; Appx11971–11984.)

GSK’s patent originally issued in 1998 as U.S. Patent No. 5,760,069. But, as discussed

more below, Teva sent GSK a paragraph IV letter in 2003 alleging the ’069 patent was

invalid. (Appx3003–3019.) GSK responded by seeking a reissue patent with

narrower claims more focused on its invention. (Appx31–45.) GSK’s reissue patent,

RE40,000, issued in January 2008, and several of its claims are at issue here. (Id.)

      For example, Claim 1 of the ’000 patent recites a method of reducing the risk

of death from heart failure by administering “maintenance dosages” of carvedilol for a

period greater than 6 months in conjunction with one of several other drugs:

      1. A method of decreasing mortality caused by congestive heart failure in a
      patient in need thereof which comprises

             administering a therapeutically acceptable amount of carvedilol in
             conjunction with one or more other therapeutic agents, said agents being
             selected from the group consisting of an angiotensin converting enzyme
             inhibitor (ACE), a diuretic, and digoxin,

             wherein the administering comprises administering to said patient daily
             maintenance dosages for a maintenance period to decrease a risk of
             mortality caused by congestive heart failure, and said maintenance period
             is greater than six months.

(Appx45 at 8:30–40.) A doctor performs the claimed method by administering

carvedilol in the recited manner. (Appx120–124; Appx134–135.) GSK also asserted

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dependent claims 2–3 and 6–9, which include more detail about dosing, other drugs

administered with carvedilol, and the patient’s particular class of heart failure.

       The broad claim language covers administering carvedilol to any heart-failure

patient to reduce the risk of death caused by congestive heart failure. (Appx88–132;

Appx133–139.) It does not exclude treating heart-failure patients that may also suffer

from additional conditions. Nevertheless, as discussed further below, the district

court’s JMOL order erroneously set aside the jury’s finding that the treatment of post-

MI LVD patients suffering from heart failure infringes—a finding that was well

supported by the testimony of GSK’s expert cardiologist. (Appx14-15 n.9.)

II.    Teva’s Infringement: Teva Intentionally Promotes Use of Its Generic
       Carvedilol in an Infringing Manner.
       Because GSK’s patent claims cover treatment methods performed by doctors,

the key issue is whether Teva induced doctors to infringe (i.e., to use its product to

reduce the risk of death from heart failure as claimed in GSK’s patent). A jury found

that Teva did, so we review here the facts in the light most favorable to that verdict.

       Years before launching its generic carvedilol product, Teva declared its intent

for doctors to administer its product to treat heart failure and planned to instruct

them to do so. For example, Teva filed its Abbreviated New Drug Application for

carvedilol in March 2002, seeking approval to sell the product for all uses, including

heart failure. (Appx10443, Appx10447.) Teva certified that it wouldn’t begin selling

the product until 2007, after patents on the carvedilol molecule expired. But Teva


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contended that GSK’s ’069 patent for treating heart failure with carvedilol was invalid

rather than agreeing not to sell until it expired in 2015. (Appx3005–3009; Appx5463;

Appx10529–10530; Appx10890.) Teva’s initial proposed labeling instructed doctors

to use the product to treat heart failure. (Appx10456–10457; Appx10447;

Appx10968–10969.) And, after Coreg® was approved for post-MI LVD in 2003,

Teva also added that indication to its label, and thus further instructed treating heart

failure in that set of heart failure patients. (See, e.g., Appx5508; Appx10622–10631.)

       Teva obtained tentative approval of its generic carvedilol in 2004 and

immediately encouraged doctors to use it just like Coreg® to treat heart failure. Teva

trumpeted in a press release that its “Carvedilol Tablets are the AB-rated generic

equivalent of GlaxoSmithKline’s Coreg® Tablets and are indicated for treatment of

heart failure.” (Appx6347.) GSK’s expert cardiologist, who saw the press release

when it issued, explained that it communicated to doctors that they should use Teva’s

generic carvedilol product to treat heart failure patients:

       Q.     So the fact that it says here, carvedilol tablets are the AB rated generic
              equivalent of GlaxoSmithKline’s Coreg tablets and are indicated for the
              treatment of heart failure, what did that tell you, as a physician, as to
              whether or not you could or should prescribe generic carvedilol for the
              treatment of heart failure?

       A.     It indicates that we should be able to prescribe generic carvedilol for
              heart failure.

(Appx11659; see also Appx11656.) The press release also referenced GSK’s total

Coreg® sales, which included heart failure sales and showed that Teva planned to


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capture sales for the patented use. (Id.; Appx6347.) This press release remains on

Teva’s website to this day, and it was there throughout the entire period of

infringement. See, e.g., https://bit.ly/2L2EtD7 (last visited July 16, 2018).

       As that launch date drew near, Teva refined its regulatory strategy but still

ensured that its drug labeling instructed the infringing heart failure use. (Appx10969,

Appx10534–10536; Appx6176–6182.) Teva initially thought it would have the benefit

of a “first-filer” 180-exclusivity against other generics. See 21 U.S.C. § 355(j)(5)(B)(v).

This turned out to be wrong—other generic companies devised a way to launch

immediately by purporting to make a “section viii” carveout, where they removed

some of the heart failure information from the product’s label. (Appx6175;

Appx10449–10451; Appx10477; 21 U.S.C. § 355(j)(2)(A)(viii).) But this wasn’t a true

section viii carveout: the label still included the post-MI LVD indication, instructing

doctors to use the product to infringe. (Appx5506–5530; Appx10622–10631.)

       The public was aware of Teva’s intent to capture the treatment of all heart

failure patients. For example, a customer asked Teva if the other generics’ section viii

carveouts meant that Teva’s product, which was still proposed for all the same uses as

Coreg®, would be the only “correct” generic to dispense to heart failure patients.

(Appx6175.) Teva never responded. Instead, Teva switched course and, like the

other generics, removed only some of the heart failure language from its “partial”

label, without telling doctors it was doing so. (Appx10458, Appx10488, Appx10491.)

Yet Teva’s label still encouraged doctors to use its product to reduce the risk of death

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caused by heart failure in post-MI LVD patients with symptoms of heart failure:

      Carvedilol is indicated to reduce cardiovascular mortality in clinically stable
      patients who have survived the acute phase of a myocardial infarction and have
      a left ventricular ejection fraction ≤ 40% (with or without symptomatic
      heart failure).

(Appx5508 (emphases added); see also Appx10622–10623, Appx10602–10606,

Appx10673, Appx10682; Appx10381–10383.) Teva’s partial label also still included

language warning of the risk of “worsening heart failure” when patients first use its

product, (Appx5510), and included data from GSK’s clinical studies that showed

carvedilol reduced the risk of death in post-MI LVD patients with heart failure.

(Appx5523–5524.) And, as GSK’s expert explained, Teva’s partial label also still

instructed doctors to use the product in a manner that meets the other limitations of

claim 1 of the ’000 patient—i.e., with one of the other listed drugs and for greater than

6 months. (Appx10622–10631; Appx5506–5530.)

      Despite removing some of the heart failure language from its partial label, Teva

still expected to capture sales from all heart failure patients upon launch, including

those without post-MI LVD. Teva’s Director of New Products admitted as much:

      Q.     So is it the expectation of Teva that when you carve out a particular
             indication, that Teva will still get sales of that drug for that indication
             once it’s launched its product?

      A.     It’s a legal strategy, not a commercial strategy.

      Q.     But as a commercial person, is it your expectation that Teva will get
             sales for the carved out indication?

      A.     Yes.

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                                              ***
      Q.     Teva was aware in 2007 that its drug was being prescribed by
             physicians, its carvedilol generic, was being prescribed by physicians
             for treatment of congestive heart failure?

      A.     Okay, yes.

(Appx10488, Appx10491.) Likewise, Teva’s Senior Director of Regulatory Affairs

admitted that its carvedilol product could be substituted for any use of Coreg®,

including treating heart failure. (Appx10453.)

      Teva also communicated to doctors that its “partial label” carvedilol product

should be used to treat all congestive heart failure patients. For example, Teva issued

a press release when it launched the partial label product in 2007 that said it was

selling a “Generic version of GlaxoSmithKline’s cardiovascular agent Coreg®.”

(Appx6353.) GSK’s expert testified that the phrase “cardiovascular agent” told him

and other doctors that they should use the product to treat heart failure:

      Q.     Can you tell the jury what Teva is telling you and your colleagues here in
             their 2007 press release?

      A.     Right. So here in 2007, Teva is telling doctors right in the title that they
             have approval and actual shipment of generic Coreg tablets, that the
             FDA granted final approval of Teva’s generic version of GSK’s
             cardiovascular drug, Coreg.

      Q.     Now, what did that tell you, Dr. McCullough, and your colleagues, as a
             physician about what Teva’s generic carvedilol, what indications it could
             be used for?

      A.     It could be used for all the indications.

      Q.     Would that include heart failure in your mind?

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             A.          Sure.

             Q.          Well, I don’t see the words “heart failure” in this particular press release.
                         What made you think that Teva’s generic carvedilol had been approved
                         for the treatment of congestive heart failure.

             A.          The use of the term “cardiovascular agent.”

(Appx11659–11660; see also Appx10672, Appx11655–11657, Appx11238–11241.)

And, as with its 2004 press release, the 2007 press release included Coreg®’s total

revenue, which shows that Teva intended to capture the entire market, including heart

failure. (Appx6353; Appx10643–10644.) In fact, Teva included heart failure revenue

despite an employee explicitly questioning whether it was right to do so. (Appx6173–

Appx6174; Appx10972–10974.) Teva has kept the 2007 press release on its website

to this day, and, as with the prior press release, it was on the website throughout the

infringement period. See, e.g., https://bit.ly/2m7FS0s (last visited July 16, 2018).

             Teva’s subsequent marketing materials built upon those press releases and

reinforced that its generic product should be used exactly like GSK’s product,

including for the infringing use. Teva’s product catalogs stated its generic was “AB”-

rated and juxtaposed it next to “Coreg®,” as shown in the example below:

                                                                                                         UNIT OF   MASTER
 PRODUCT NAME                    DESCRIPTION                IMPRINT       TEE•   NDC NUMBER       SIZE    SALE      CASE     BRAND

 Carved1lol Tab l• ts                                                                                                   Coreg_ Tablets
        3.1 25 mg                Elliptical-shaped, White     93/51        AB    0093·0051-01     100      12        144
        6.2 mg                   Elliptical-shaped, White    93/135        AB    0093·0135 -0 1   100      12        120
        12.5 mg                  Elliptical-shap&d, White    93)729 5      AB    0093-7295-0 1    100      12        120
        25 mg                    Elliptical-shaped, White    931729 6      AB    0083·7296-0 1    100      12        120



(Appx6221; see also Appx6270; Appx6072; Appx6324; Appx6185; Appx10543–10545,


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Appx10634, Appx10685.) Teva’s website has made that same comparison since 2007.

(Appx10991–10992; Appx4245–4246.) Teva’s product guide is even more explicit,

referring to Coreg® as the “Brand Equivalent” of Teva’s product. (Appx6185.)

      GSK’s cardiologist expert confirmed these materials communicated to doctors,

such as himself, that the products were “therapeutically interchangeable.”

(Appx10634–10636.) Likewise, GSK’s regulatory expert explained that, according to

the FDA, such direct comparisons—where the generic not only refers to an “AB”

rating but also invokes the name of the branded drug (Coreg®)—communicate that

both products are approved for all the same uses. (Appx10544–10545, Appx10582–

10583.) Even Teva’s expert admitted doctors’ prescribed generic carvedilol just like

Coreg® because they thought the two were “therapeutically interchangeable.”

(Appx11176; see also Appx11168.) Doctors receive Teva’s catalogs and guides and

visit its website, so they would have reviewed this information. (Appx11664–11665.)

      In 2011, Teva’s instructions to doctors about using the product for the

infringing use of treating heart failure became even more explicit. Teva amended its

label to add back all the information about heart failure that it had previously

removed. (Appx5531–5553; Appx5554–5559; Appx10569–10572.) Teva’s “full”

label thus now told doctors to use the product for all types of congestive heart failure,

just as its other promotional materials had done for years:

      1.1 Heart Failure

      Carvedilol tablets are indicated for the treatment of mild-to-severe chronic

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      heart failure of ischemeric or cardiomyopathic origin, usually in addition to
      diuretics, ACE inhibitors, and digitalis, to increase survival and, also, to reduce
      the risk of hospitalization.

(Appx5532.) Likewise, Teva’s 2012 and 2013 Monthly Prescribing References, which

are communicated to “Healthcare Professional[s],” instructed that its product should

be used for “Mild to severe heart failure (HF) to increase survival,” as well as “[t]o

reduce cardiovascular mortality” in post-MI LVD patients, including those with

symptomatic heart failure. (Appx6194, Appx6200; see also Appx6203, Appx6208;

Appx10608–10612.) GSK’s expert cardiologist confirmed that doctors receive these

materials “on a regular basis.” (Appx10607–10608.)

      Teva asked the jury to disregard its promotional materials and labels at trial by

arguing that doctors didn’t read any of that information. But GSK’s expert testified

that doctors do read generic labels and that he personally had read Teva’s label

outside of his work on this case. (Appx10608–10612; Appx11661–11662.) Indeed,

Teva’s other documents told doctors that they should read the label. For example,

Teva’s Monthly Prescribing References instructs that “[t]he clinician must be familiar

with the full product labeling provided by the manufacturer or distributor of the drug,

of every product he or she prescribes, as well as the relevant medical literature.”

(Appx6196, Appx6205.) It also says that Teva offers “high-quality educational tools

to serve as convenient, authoritative references in daily use” that are “organized into

therapeutic sections to make it simple to find the information you need quickly,” and

are designed to be “a trusted tool in your clinical armamentarium.” (Appx6194; see

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also Appx6203.) Teva’s References go on, in a section titled “Important Information

for Readers,” to say that, “if any questions arise” about the information it contains,

doctors should “verify it against the labeling or by contacting the company marketing

the drug.” (Appx6196; see also Appx6205.) Teva also directs doctors to visit its

website. (Appx6202.) And, as noted, GSK’s expert cardiologist testified that doctors

do read Teva’s press releases, product catalogs, and other materials. (Appx10607–

10610; Appx11655, Appx11664.) Even Teva’s expert acknowledged that doctors read

press releases. (Appx11238–11241.)

      The jury also heard direct evidence that Teva’s activities caused doctors to

prescribe generic carvedilol to treat heart failure. GSK’s expert testified that he and

other doctors are “completely reliant” on information they receive from a generic

company like Teva in deciding how to use its product:

      Q.     So do you or do you not rely on the information that you get from the
             generic as to whether or not they are truly a generic equivalent of the
             original brand?

      A.     Yes, we’re completely reliant on what they provide to us.

(Appx11661–11662.) Moreover, he testified that Teva’s press releases and other

marketing materials led him to believe that its generic carvedilol was approved for all

the same uses that Coreg® had been approved for, including treating heart failure:

      Q.     Now, rather than reinvent the wheel, the last time you testified, we
             introduced, through you, some Teva product brochures, that MPR for
             the physician, and it ranged, basically we introduced a bunch of Teva
             information that ranged from 2008 to 2013 showing that Teva
             represented their carvedilol . . . tablet was the generic equivalent of

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             Coreg and was AB rated. Based on what Teva said in 2004 and 2007,
             any time after that, 2008, 9, 10, 11, up to 2013, did you ever come to
             believe that Teva’s generic carvedilol had not been approved for the
             treatment of heart failure?

      A.     No, I never knew it.

(Appx11661.) GSK’s expert also testified that, had he known Teva’s product was not

approved for use in treating heart failure during the “partial label” period, he would

not have prescribed it generally for the infringing use:

      Q.     And, Dr. McCullough, ha[d] you known that Teva had not been
             approved – I’m sorry – Teva’s generic carvedilol had not been approved
             for the use in congestive heart failure, would you have used it anyway to
             treat congestive heart failure?

      A.     No, I wouldn’t have.

      Q.     Why not?

      A.     Because even though the drug is the same, the difference is the package
             insert and the label which is missing too much information.

(Appx11660–11661.) As it turned out, however, GSK’s expert believed Teva’s

product was a “complete replacement” that was approved for all the same uses as

Coreg® because of Teva’s press releases and other promotional materials:

      Q.     Now, before you started administering generic carvedilol to your
             patients, whether you wrote it as Coreg or not, did you read Teva’s
             generic label?

      A.     No, I didn’t.

      Q.     Why not?

      A.     I just assume[d] they were the same.


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       Q.    What made you assume that?

       A.    Well, we had lots of information as we had gone over [i.e., Teva’s
             promotional materials] that indicated that, you know, it was a complete
             replacement. That in fact the two, the drug was the same and all the
             information regarding it was the same.

(Appx11662–11663.) He did later read Teva’s label to answer patient questions. (Id.)

       Finally, the jury heard evidence that doctors directly infringed by prescribing

Teva’s product. Both sides’ experts testified they had prescribed generic carvedilol to

treat heart failure. (Appx11662–11663; Appx10631; Appx11177.) The evidence also

showed that Teva captured as much as half the generic carvedilol market.

(Appx6771.) In addition, a survey showed a significant percentage of carvedilol

prescriptions were infringing (i.e., to reduce the risk of death from heart failure and

used with ACE inhibitors or diuretics and as part of a treatment method lasting longer

than 6 months). (Appx10727, Appx10736.) GSK’s damages expert calculated that

Teva’s infringement caused GSK to lose profits of $477 million. (Appx10816.)

III.   The Proceedings Below: The District Court Sets Aside the Jury’s
       Finding that Teva Induced Infringement.
       Having heard the evidence of Teva’s conduct during a 7-day trial, and having

shown diligence by requesting a magnifying glass to help it review the trial exhibits,

the jury found that Teva induced infringement during the “partial” label period

(January 8, 2008–April 30, 2011) and the “full” label period (May 1, 2011–June 7,

2015). (Appx204–213.) The jury also found that Teva’s infringement was willful, that

the ’000 patent was not invalid, and that Teva was liable for $235.51 million. (Id.)

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      The district court instructed the jury on inducement and specifically charged

that it could not find liability unless “Teva’s alleged inducement, as opposed to other

factors, actually caused the physicians to directly infringe.” (Appx173.) The court’s

jury instructions further elaborated that “[t]his means that Teva cannot be liable for

induced infringement where GSK does not show that Teva successfully

communicated with and induced a third-party infringer and that the communication

was the cause of the direct infringement by the third-party infringer.” (Id.) The jury’s

verdict thus reflected its determination that Teva communicated its labels and

promotional materials to doctors and that those materials caused their infringement.

      The district court, however, set aside the jury’s findings on inducement and, in

doing so, substituted its own view of the evidence. (Appx1–27.) For example, the

court did not address the testimony from GSK’s cardiologist expert that Teva’s

promotional materials (e.g., press releases, product guides, etc.) caused him to

administer Teva’s product to treat heart failure and concluded, instead, that he was

not induced because he “did not read Teva’s label” when the product first launched.

(Appx13–14, citing Appx11659–11663.) The court noted that GSK’s expert was also

influenced by other sources, such as GSK’s marketing before Teva’s launch and

standard guidelines for treating heart failure. (Appx14, citing Appx10666–10669,

Appx10676–10678.) Having begun with those general observations, the Court

divided its analysis into two parts—one for the “partial” (or “skinny”) label period,

and another for the “full” label period.

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      For the “partial” label period, the court noted Teva had “omitted from its

label” some of the heart failure language and that GSK’s expert “would not prescribe

generic carvedilol for CHF if it was not an approved use on the label.” (Appx14–15,

citing Appx11660–11661.) But the court did not mention the expert’s further

testimony that Teva’s other promotional materials had led him to believe that Teva’s

product was approved to treat heart failure and thus caused him to infringe. The

court also inexplicably set aside the jury’s factual finding that the “post-MI LVD

language in [Teva’s partial] label caused or even encouraged direct infringement,”

(Appx15–16 & n.9), even though the label says the product should be used to “reduce

cardiovascular mortality” in patients “with … symptomatic heart failure,” (Appx5508)

and even though GSK’s expert testified that the partial label instructed doctors to use

the product in a way that met every other claim limitation. (Appx10622–10631.)

      The court also dismissed Teva’s marketing materials comparing its AB-rated

partial label product to Coreg® without mentioning GSK’s cardiologist expert

testimony that this communicated that the products were therapeutically

interchangeable. Nor did the court discuss GSK’s regulatory expert who testified that

the FDA views such a comparison as implying that the generic is approved for all the

same uses as the branded drug. (Appx16–17.) The court also did not address either

of Teva’s press releases about its product, much less GSK’s expert testimony that

cardiologists would have seen those releases and inferred from them that Teva’s

partial-label product was approved to treat heart failure.

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      Instead, the court noted that, after Teva launched its product, “doctors

continued prescribing carvedilol (be it Coreg® or a generic) in the same manner as

they had prior to the generics’ entrance,” and “relied on guidelines and research, as

well as their own experience in addition to GSK marketing.” (Appx18–19.) The

court thus concluded “there was no reasonable basis for the jury to have found that

anything Teva did – including selling generic carvedilol, giving it a “skinny” label, and

all aspects of how Teva marketed its carvedilol – caused even a single doctor to

prescribe carvedilol for the treatment of” heart failure. (Appx19-20.) But this ignored

the fact that Teva caused infringement by telling doctors to use its product like

Coreg® and thus capitalized on that pre-existing knowledge to encourage

infringement. Finally, the court criticized GSK for supposedly presenting “no direct

evidence” of inducement, (Appx20), even though GSK did present direct evidence

from its expert, and even though circumstantial evidence alone would be sufficient.

      With respect to the “full label” period, the court’s analysis was brief. (Appx22–

24.) The court barely acknowledged GSK’s evidence that Teva’s full label, which

contains the language reproduced above at pp. 14–15, now even more explicitly

instructed doctors to use the product to infringe and that Teva’s other materials told

doctors to read its label. (Appx22.) Instead, the court again blamed GSK for doctors’

direct infringement when administering Teva’s generic carvedilol because “physicians

were already prescribing generic carvedilol to treat CHF [congestive heart failure]”

when Teva changed its label to add more language on heart failure. (Appx23.)

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                            SUMMARY OF THE ARGUMENT

       The district court’s JMOL should be reversed because the jury’s inducement

finding was supported by substantial evidence. This Court has repeatedly held that a

jury may infer a defendant’s actions caused others to infringe where the defendant

intentionally encourages the infringing use. The jury here was thus presented with a

quintessential question of fact—whether Teva’s promotional materials and labels

encourage the infringing use. It found that they do, and that finding was well

supported. Teva’s promotional materials (e.g., press releases, catalogs, and website)

encouraged infringement by communicating that its generic should be used just like

Coreg® and touting its use to “treat heart failure.” Teva’s labels also encouraged use

of the product to treat heart failure throughout the relevant period. The jury also had

another independent basis on which to find causation—direct evidence from GSK’s

expert cardiologist that Teva’s acts caused him to infringe. Any one of these standing

alone could sustain the jury’s verdict, and, taken together, they are certainly sufficient.

        In concluding otherwise, the district court erred by ignoring (or giving little

weight) to evidence that the jury credited (e.g., Teva’s press releases and the expert

testimony about how Teva’s promotional materials would be interpreted) and re-

analyzing other issues that were within the jury’s province (e.g., whether Teva’s partial

label encouraged infringement). The court compounded that error by analyzing

causation in a manner inconsistent with the statute, precedent, and common law. The

JMOL should thus be reversed and the jury’s verdict reinstated.

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                                 STANDARD OF REVIEW

       This Court reviews a district court’s grant of judgment as a matter of law de

novo. Callaway Golf Co. v. Acushnet Co., 576 F.3d 1331, 1339 (Fed. Cir. 2009).

“Infringement is a question of fact, reviewed for substantial evidence when tried to a

jury.” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1309 (Fed. Cir. 2009).

       A “court may grant judgment as a matter of law contrary to the verdict only if

the record is critically deficient of the minimum quantum of evidence to sustain the

verdict.” Acumed LLC v. Advanced Surgical Servs., Inc., 561 F.3d 199, 211 (3d Cir.

2009)). JMOL should be granted “sparingly” and “only if, viewing the evidence in the

light most favorable to the nonmovant and giving it the advantage of every fair and

reasonable inference, there is insufficient evidence from which a jury reasonably could

find liability.” Marra v. Philadelphia Hous. Auth., 497 F.3d 286, 300 (3d Cir. 2007). “In

performing this narrow inquiry, we must refrain from weighing the evidence,

determining the credibility of witnesses, or substituting our own version of the facts

for that of the jury.” Id.




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                                         ARGUMENT

I.     The Jury’s Inducement Finding Was Supported by Substantial Evidence.
       The district court’s grant of JMOL should be reversed. This Court has

repeatedly held that a jury may infer that the defendant induced (caused) infringement

where, as here, the defendant intentionally promotes the infringing use and

communicates that message to the direct infringers. The jury’s factual finding that

Teva did promote the infringing use and thus induced infringement through both the

“partial” and “full” label periods was supported by Teva’s promotional materials and

labels, and by expert testimony. The district court was wrong to set aside that finding

by reweighing evidence (including expert credibility), and its analysis of causation was

simply incorrect. Moreover, substantial evidence supported the jury’s finding that the

other elements of inducement were met as well.

       A.     The Jury’s Causation Finding Was Supported by Substantial
              Evidence.
               1.     Precedent Permits the Jury to Find Causation Based on
                      Teva’s Intentional Encouragement of the Infringing Use.
        “Whoever actively induces infringement of a patent shall be liable as an

infringer.” 35 U.S.C. § 271(b). A defendant is liable if (1) “a third party directly

infringed the asserted claims,” (2) the defendant “induced those infringing acts,” and

(3) the defendant “knew the acts it induced constituted infringement.” Power

Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 843 F.3d 1315, 1332 (Fed. Cir. 2016).

The term “induce” means “[t]o lean on; to influence; to prevail upon; to move by


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persuasion.” Global-Tech Appliances, Inc. v. SEB S.A., 553 U.S. 754, 760 (2011). As a

result, the second element requires “successful communication between the alleged

inducer and the third-party direct infringer,” such that the defendant’s conduct “led to

direct infringement.” Power Integrations, 843 F.3d at 1331. “The inducement may be

proven via circumstantial evidence.” Id. “Circumstantial evidence is not only

sufficient, but may also be more certain, satisfying and persuasive than direct

evidence.” Moleculon Research Corp. v. CBS, Inc., 793 F.3d 1261, 1272 (Fed. Cir. 1986).

       This Court has repeatedly held that a jury may infer that a defendant has

actually induced infringement—i.e., that its actions have “led to direct infringement”

by third parties—where the defendant has intentionally promoted infringement. “[I]f

an entity offers a product with the object of promoting its use to infringe, as shown

by clear expression or other affirmative steps taken to foster infringement, it is then

liable for the resulting acts of infringement by third parties.” DSU Med. Corp. v. JMS

Co., 471 F.3d 1293, 1305-06 (Fed. Cir. 2006) (en banc in relevant part). The Supreme

Court described the rule similarly when extending patent law’s inducement standard

into copyright. See Metro-Goldwyn-Meyer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936–

37 (2005) (“[O]ne who distributes a device with the object of promoting its use to

infringe copyright, as shown by clear expression or other affirmative steps taken to

foster infringement, is liable for the resulting acts of infringement by third parties.”).

“The classic instance of inducement is by advertisement or solicitation that broadcasts

a message designed to stimulate others to commit violations.” Id. at 937.

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       Applying that principle, this Court has “affirmed induced infringement verdicts

based on circumstantial evidence of inducement (e.g., advertisements, user manuals)

directed to a class of direct infringers (e.g., customers, end users) without requiring

hard proof that any individual third-party direct infringer was actually persuaded to

infringe by that material.” Power Integrations, 843 F.3d at 1335. A patent owner need

only show that the defendant promoted the infringing use in materials that were

successfully communicated to customers. See, e.g., id. at 1332–35 (holding the

defendant’s “affirmative acts to induce third parties to import its products into the

United States” were enough to allow a jury to infer the defendant “had induced its

customers” to “infringe as a class”); Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201,

1220, 1222 (Fed. Cir. 2014) (affirming jury’s induced infringement verdict where

defendant advertised compliance with an infringing standard); Lucent Techs., Inc. v.

Gateway, Inc., 580 F.3d 1301, 1323 (Fed. Cir. 2009) (affirming jury’s inducement

finding based on expert testimony that the defendant’s “documentation encouraged

users to use the infringing tool”); Arthrocare Corp. v. Smith & Nephew, Inc., 406 F.3d

1365, 1377 (Fed. Cir. 2005) (affirming jury’s induced infringement verdict where

defendant distributed “sales literature” and “manuals” that instructed how to use

product in infringing manner); Mentor H/S, Inc. v. Medical Device Alliance, Inc., 244 F. 3d

1365, 1379 (Fed. Cir. 2001) (reversing JMOL of no inducement where there was

substantial evidence the defendant “sold the [accused] device with the intention that

doctors would use it to perform the patented method”); Moleculon, 793 F.2d at 1272

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(affirming jury verdict of inducement based on dissemination of “instruction sheets”

and “solution books” teaching the infringing use of the accused puzzle); see also

Grokster, 545 U.S. at 937–40 (permitting copyright inducement claim to go to the jury

based on intentional advertisement of the infringing use); Toshiba Corp. v. Imation Corp.,

681 F.3d 1358, 1365 (Fed. Cir. 2012) (“Appellees designed the DVDs to be used in an

infringing way and instructed users to use them in the infringing way by finalizing the

DVDs or using the disc-at-once mode. This is sufficient to preclude summary

judgment.”).

       Likewise, this Court has repeatedly affirmed inducement findings in Hatch-

Waxman cases that occur before a generic company launches its product where, as

here, the defendant’s label or other promotional materials intentionally instruct the

infringing use. See, e.g., Vanda Pharms. Inc. v. West-Ward Pharms. Int'l Ltd., 887 F.3d

1117, 1130 (Fed. Cir. 2018) (“The district court made factual findings that the

proposed label ‘recommends’ that physicians perform the claimed steps, and its

analysis of the proposed label to assess potential direct infringement by physicians was

proper under our precedent.”) (internal cite omitted); Sanofi v. Watson Labs. Inc., 875

F.3d 636, 646 (Fed. Cir. 2017) (“The evidence in this case supports the finding of

intentional encouragement of infringing use and, therefore, of inducement.”); Eli Lilly

& Co. v. Teva Parental Medicines Inc., 845 F.3d 1357, 1369 (Fed. Cir. 2017) (“[E]vidence

that the product labeling that Defendants seek would inevitably lead some physicians

to infringe establishes the requisite intent for inducement.”); AstraZeneca LP v. Apotex,

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Inc., 633 F.3d 1042, 1059 (Fed. Cir. 2010) (“[L]iability for active inducement may be

found where evidence goes beyond a product’s characteristics or the knowledge that it

may be put to infringing uses, and shows statements or actions directed to promoting

infringement.”).

             2.      The Jury Could Properly Find that Teva Caused
                     Infringement During the Partial Label Period.
       The jury’s inducement finding for the partial-label period was supported by

sufficient evidence given the precedent just discussed. Teva actively and intentionally

promoted its partial-label generic product for the infringing use—i.e., treatment of

heart failure in the manner claimed—through various channels, including (1) through

press releases, product guides, and its website, and (2) through a partial label that

instructed and encouraged the infringing use. Either category of evidence alone

would be sufficient to find causation, as a defendant’s successful communication of

any instruction to infringe is circumstantial evidence that third parties followed those

instructions. When these categories of promotion are taken together, they are

certainly sufficient to support the jury verdict. GSK also submitted a third category of

evidence—direct evidence—that goes beyond that required in the prior cases: GSK’s

cardiologist expert testified that he used Teva’s product for the infringing use based

on Teva’s promotion of that use through its press releases and product guides. The

district court’s JMOL would have to be reversed based on any one of the categories

of evidence and cannot stand given the combination of all three.


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                    a.     Teva’s Press Releases, Product Guides, and Website
                           Encouraged the Infringing Use.
      Teva actively encouraged doctors, through its promotional materials, to

prescribe its partial label generic carvedilol just as doctors prescribed Coreg®—for

the infringing use. For example, Teva widely distributed its 2004 and 2007 press

releases to doctors, both of which announced the approval of its product and touted

the infringing use. The 2004 press release said the product was “for the treatment of

heart failure” (the patented use), was “the AB-rated equivalent of [GSK’s] Coreg®,”

and that Teva had already received tentative approval. (Appx6347.) It also said it

expected final approval in 2007. (Id.) Teva’s 2007 press release described its

approved product as a generic version of GSK’s “cardiovascular agent” Coreg®.

(Appx6353.) GSK’s expert explained, without contradiction, that doctors would

understand this language to mean that the product could and should be used to treat

heart failure. (Appx11659–11660.) Indeed, both press releases referenced Coreg®’s

full revenue, including revenue from heart failure sales, which was the “main use” of

Coreg® at the time. (Appx6347; Appx6353; Appx10643–10644.) That confirmed

how GSK’s expert interpreted the press releases—i.e., as teaching the infringing use.

Moreover, Teva kept these press releases on its website throughout the infringement

period (2008–2015) and continues to do so today. See, e.g., https://bit.ly/2L2EtD7;

https://bit.ly/2m7FS0s.




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       Having laid this foundation, Teva continued to promote its partial label

product as a Coreg®-equivalent for the infringing use in its product guides and

advertisements. For example, Teva’s product catalogs and website not only referred

to its product as “AB-rated” but they directly compared it to GSK’s Coreg® products

and called it the “Brand Equivalent.” (Appx6221; Appx6185; Appx6270; Appx6072;

Appx6324; Appx10543–10545, Appx10634, Appx10685; Appx4245–4246;

Appx10991–10992.) The jury could properly conclude from these direct comparisons

that Teva was marketing its product for the infringing use of treating heart failure.

GSK’s regulatory expert testified that such marketing conveys that the generic may be

used in the same manner as the branded product. (Appx10544–10545, Appx10582–

10583.) GSK’s cardiologist expert likewise testified that the comparison would lead

doctors to treat the generic as “therapeutically interchangeable” with GSK’s product,

i.e., that it could be used in exactly the same manner, including to treat heart failure.

(Appx10634–10636.) Even Teva’s expert acknowledged that the reason he prescribed

generic carvedilol in the same way he prescribed Coreg was because he viewed them

as “therapeutically interchangeable.” (Appx11176.) The jury was entitled to conclude

that Teva’s acts gave doctors the impression the products were interchangeable,

leading them to infringe. And the jury’s decision to do so was particularly reasonable

given that Teva had already encouraged physicians to use the product to treat heart

failure in its press releases—press releases that were on its website throughout the

infringement period.

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       These materials promoting the infringing use are precisely the type of evidence

that this Court has held would allow a jury to infer that the defendant’s acts led to

(caused) third-party infringement. See, e.g., Power Integrations, 843 F.3d at 1332–35;

Ericsson, 773 F.3d at 1220, 1222; Toshiba, 681 F.3d at 1365; Lucent, 580 F.3d at 1323;

Arthrocare, 406 F.3d at 1377; Mentor H/S, 244 F. 3d at 1379; Moleculon, 793 F.2d at

1272. For example, in Power Integrations, advertisements promoting that a product

complied with United States energy standards were sufficient for a jury to infer that

the defendant promoted the infringing use (i.e., importing the product into the United

States). See 843 F.3d at 1333. Likewise, in Ericsson, a defendant’s advertisements

promoting that its products complied with an industry standard were sufficient to

show inducement where use of the standard was found to infringe. See 773 F.3d at

1222; see also Power Integrations, 843 F.3d at 1335 (characterizing Ericsson in this

manner). Neither case required that a defendant provide a list of detailed instructions

explaining how to directly infringe. For example, the Power Integrations defendant did

not expressly say “bring your products to the United States,” nor did the Ericsson

defendant say “use multiple types of feedback responses,” which was the infringing

functionality there. But both found that a jury could reasonably conclude that what

the defendant did say was enough to encourage infringement.

       The same is true here. Teva’s message to doctors in its product guides and on

its website was that they could use its product just like GSK’s Coreg®. This

communication alone was sufficient to encourage doctors to infringe, because they

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would use its generic for all the uses for which Coreg® was approved, including

treating heart failure. Teva knew this and the jury agreed. This scenario is just like the

Ericsson defendant instructing its customers to use the standard, knowing that if they

did so, they would infringe. In fact, Teva went much further than the Ericsson and

Power Integrations defendants, because one of its press releases explicitly told doctors to

use the product to “treat heart failure” (the infringing use), and it kept that press

release on its website throughout the infringement period.

       Moreover, the jury properly concluded that Teva successfully communicated

these materials describing the infringing use to doctors and that doctors actually read

them. For example, GSK’s cardiologist expert testified that he read Teva’s press

releases, and that doctors receive Teva’s catalogs, visit its website, and read its other

guides. (Appx11664–11665, Appx11656; Appx10607–10610.) Even Teva’s

cardiologist expert admitted that he had seen the press releases. (Appx11238–11241.)

Given the jury’s implicit findings that the promotional materials instructed the

infringing use and that doctors received and read them, this Court’s precedent bars

setting aside its factual finding of causation.

                     b.     Teva’s Partial Label Encouraged the Infringing Use.
       The second independent category of evidence showing that Teva promoted

infringement is Teva’s partial label itself. GSK’s cardiologist expert explained in detail

that the partial label instructed doctors to perform each step of the claimed method

on post-MI LVD patients with heart failure. (Appx10622-10631; Appx5506–5530.)

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For example, the label said the drug should be used to “reduce cardiovascular

mortality” in patients with “symptomatic heart failure,” (Appx5508), identified the

therapeutically effective amount to be used, (Appx5506), instructed use of the drug

with ACE inhibitors and diuretics, (Appx5508, Appx5523), and pointed to clinical

studies showing the administration of maintenance dosages for over 6 months.

(Appx5508, Appx5524.) Teva’s cardiologist expert likewise admitted that some of the

post-MI LVD patients referenced on the label have heart failure—he agreed that “a

patient who has a left ventricular ejection fraction of less than or equal to 40 percent

with symptomatic heart failure would [be] diagnosed as suffering from congestive

heart failure.” (Appx11226.) Moreover, Teva told doctors to read the label, and

GSK’s expert testified that doctors (including himself) read generic labels.

(Appx10608–10612; Appx11661–11662; Appx6196, Appx6205.) The jury thus had

ample evidence to conclude that Teva’s partial label was a successful communication

to doctors that encouraged the infringing use, making it alone sufficient to support

the inducement verdict under Power Integrations and the other cases cited above.

       Teva’s partial label is also the type of instruction that this Court has repeatedly

held is sufficient, all by itself, to establish inducement in Hatch-Waxman cases. See,

e.g., Vanda, 887 F.3d at 1130; Sanofi, 875 F.3d at 646; Eli Lilly, 845 F.3d at 1369; see also

AstraZeneca, 633 F.3d at 1056. Those cases deal with a situation where although the

generic has not yet launched its product, the Court has enjoined the generic launch by

concluding that a label instructing the infringing use would cause doctors to infringe if

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the product was sold. Id. That same rationale applies directly in this post-launch case:

GSK’s cardiologist expert testified that doctors do read generic drug labels, and

Teva’s marketing materials encouraged doctors to read the label. (Appx10608–10612;

Appx11661–11662; Appx6196, Appx6205.) The jury could thus properly conclude

that those intentional instructions to infringe actually caused at least some doctors to

follow them post-launch and infringe, just as this Court has previously said that they

would in the pre-launch context. If a drug label that instructs the infringing use can

justify an injunction barring any sale of the product pre-launch, it is surely enough to

justify a damages award on only the infringing uses post-launch.

                     c.     GSK’s Expert Presented Direct Evidence that Teva
                            Induced Him to Infringe.
       The circumstantial evidence of causation discussed above was more than

adequate to the support the jury’s verdict. But GSK presented even more: direct

evidence from its expert that Teva’s behavior caused him and other physicians to

infringe. (Appx11659–11663.) He testified that doctors are “completely reliant” on

the information generic drug companies provide them and that Teva’s marketing

materials—including the press releases, product catalogs, and website—caused him to

think its partial label product was approved to treat congestive heart failure, just like

Coreg®. (Appx11661–11662.) Teva’s marketing materials led him to believe its

product was a “complete replacement” for Coreg® and thus caused him to administer

it for the infringing use—treating heart failure. (Appx11662–11663.) The jury


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reasonably credited this testimony and found that Teva’s behavior caused him and

other doctors to infringe.

                    d.       Teva’s Intent to Infringe Further Reinforced the Jury’s
                             Finding of Causation.
      The jury’s finding that Teva’s acts caused infringement was all the more

reasonable given that this was Teva’s expectation and intent all along. Teva’s

witnesses admitted that Teva expected to sell its product to treat heart failure, the

infringing use. (Appx10488, Appx10491, Appx10453.) Teva’s press releases included

GSK’s revenue for the infringing use, underscoring that it intended to capture that

revenue. (Appx6347; Appx6353.) That is no surprise—heart failure was the main use

of Coreg® at the time, (e.g., Appx10643–10644), so Teva had a commercial incentive

to promote infringement and make more money in the process. See, e.g., Grokster, 545

U.S. at 939–40 (holding that the fact “the commercial sense of [defendants’]

enterprise turns on high volume use, which the record shows is infringing” supported

an inference of intent).

      Teva was also careful not to discourage doctors from using its product for the

infringing use, electing not to put any disclaimers in its marketing materials, mention

that it had removed language from the product label, or retract any of its statements

that it received approval for all uses. That further demonstrates its unlawful intent.

See, e.g., Grokster, 545 U.S. at 939 & n.12 (holding that other evidence of unlawful

intent was “given added significance” because neither defendant “attempted to


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develop filtering tools or other mechanisms to diminish the infringing activity using

their software”). And the jury could properly infer that Teva not only intended to

promote the infringing use, but that it actually succeeded, given all the other direct

and circumstantial evidence on that point. The district court’s JMOL of no

inducement during the partial label period should thus be reversed.

             3.     The Jury Could Properly Find that Teva Caused
                    Infringement During the Full Label Period.
      The jury’s inducement finding for the full label period was also supported by

substantial evidence. Throughout the full label period, Teva continued all the

promotional activities that made it liable during the partial label period. Teva also

expanded its promotion of the infringing use even further during the full label period,

explicitly adding to its label that the product was approved for “mild-to-severe

chronic heart failure” to “increase survival.” (Appx5532.) GSK’s expert explained,

without contradiction, that Teva’s full label instructed doctors to use the drug in a

manner covered by all the remaining claim limitations too, including instructions on

the therapeutically effective amount, (Appx5531), co-administration with diuretics,

ACE inhibitors, and digitalis, (Appx5532), and treatment for a maintenance period for

over 6 months to reduce the risk of mortality. (Appx5532, Appx5547; see also

Appx10623–10631.)

      Likewise, Teva’s Prescribing References, which are specifically addressed to

doctors, instructed that its product should be used for “Mild to severe heart failure


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(HF) to increase survival,” as well as “[t]o reduce cardiovascular mortality” in post-MI

LVD patients suffering from heart failure. (Appx6194, Appx6200; see also Appx6203,

Appx6208; Appx10608–10612.) Those same marketing materials specifically

instructed doctors to read Teva’s label, telling them to “be familiar with the full

product labeling provided by the manufacturer or distributor of the drug,” which of

course included its generic carvedilol. (Appx6196, Appx6205.) Moreover, GSK’s

expert testified that he read Teva’s label. (Appx11663.) The jury could thus

reasonably infer that these additional marketing materials intentionally instructing the

infringing use were communicated to doctors and caused them to infringe. See, e.g.,

Power Integrations, 843 F.3d at 1332–35; Ericsson, 773 F.3d at 1220, 1222; Toshiba, 681

F.3d at 1365; Lucent, 580 F.3d at 1323; Arthrocare, 406 F.3d at 1377; Mentor H/S, 244

F. 3d at 1379; Moleculon, 793 F.2d at 1272. Indeed, this issue is an open-and-shut case

under the Court’s Hatch-Waxman law, which holds that instructing the infringing use

on the label is sufficient to trigger liability for inducement before a generic product

launches. See, e.g., Vanda, 887 F.3d at 1130; Sanofi, 875 F.3d at 646; Eli Lilly, 845 F.3d

at 1369; AstraZeneca, 633 F.3d at 1056.

       The jury’s inducement verdict is also well-supported by all the same

considerations and evidence discussed above for the partial label period. Teva had

been promoting the product for the infringing use since it first announced its tentative

approval in 2004, and it had misled doctors into thinking it was approved for treating

heart failure throughout the relevant period. GSK’s expert testified that Teva’s

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actions had caused him to think Teva’s product was approved for the treatment of all

kinds of heart failure and that he would not have prescribed it otherwise.

(Appx11659–11663.) The jury properly combined this evidence with Teva’s

description of the infringing use on its label to conclude that it had caused doctors to

infringe. The district court’s contrary JMOL should be reversed.

      B.     The District Court’s Rationale in Granting JMOL Was Erroneous.
             1.     The District Court Ignored or Improperly Reweighed Key
                    Evidence Supporting the Jury Verdict.
      The district court’s grant of JMOL was initially flawed because it ignored or

erroneously reweighed evidence that the jury heard and credited. See, e.g., Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (“Credibility determinations, the weighing

of the evidence, and the drawing of legitimate inferences from the facts are jury

functions, not those of a judge, whether he is ruling on a motion for summary

judgment or for a directed verdict”); Marra, 497 F.3d at 300 (holding that, on JMOL,

the court “must refrain from weighing the evidence, determining the credibility of

witnesses, or substituting our own version of the facts for that of the jury).

      For example, the district court’s analysis did not address Teva’s 2004 press

release, in which it explicitly advertised that its drug was approved for the infringing

use or its 2007 press release in which it communicated the same thing through its use

of the term “cardiovascular agent.” (Appx6347, Appx6353.) In particular, the court

made no mention of GSK’s expert testimony that the 2007 press release’s reference to



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the generic as a “cardiovascular agent” would give doctors the impression that it was

generally approved for all types of heart failure. (Appx11659–11660.) That was a

critical omission, as those press releases set the stage for Teva’s subsequent marketing

of its product by comparing it to the “Brand Equivalent” Coreg®, which continued

after GSK’s patent reissued in January 2008, and colored how doctors interpreted that

marketing. Having been twice told by Teva that its product was generally approved

for the infringing use, it is no surprise that doctors used it in that manner after seeing

Teva continue to compare it to Coreg®. Moreover, Teva put the press releases on its

website throughout the infringing period (2008-2015), which made them independent

acts of inducement during the relevant period regardless of the fact that they were

first released before the ’000 patent issued.

       Likewise, the district court gave short shrift to Teva’s product catalogs from

2008–2015 directly comparing its product to Coreg® and did not mention any of the

expert testimony regarding them. The district court found the materials inadequate

because they did not expressly mention heart failure, and it erroneously focused on

the AB-rating alone, substituting its view that this implied the products were

equivalent for only the uses on the label, not all uses. (Appx16–18.) But the jury

properly found that Teva’s label did always teach the infringing use—during the

“partial label” period it did so for heart failure patients with post-MI LVD, and during

the “full label” period it did so for all congestive heart failure patients. So the AB-



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rating would convey the product should be used to infringe throughout the relevant

period even if Teva’s conduct were only tied to the label.

       In addition, Teva did more than just obtain an AB-rating: it directly compared

its product to Coreg® and said they were “equivalent.” GSK’s regulatory expert

testified that the FDA views such a direct comparison between the generic and the

brand as conveying that they have the same uses, (Appx10544–10545, Appx10582–

10583), and GSK’s cardiologist expert testified that doctors would interpret this

comparison to teach that the products are “therapeutically interchangeable.”

(Appx10634–10636.) The jury reasonably inferred from that testimony that Teva’s

product catalogs encouraged the infringing use for treating heart failure. See, e.g., Power

Integrations, 843 F.3d at 1332–35; Ericsson, 773 F.3d at 1222.

       Having failed to mention these key aspects of GSK’s case, the district court

compounded its error by incorrectly reweighing evidence de novo. There was no basis

for the district court to set aside the jury’s well-supported finding that Teva’s partial

label instructed doctors to use the product for treating heart failure in patients with

post-MI LVD. (Appx15–16 & n.9; see also Appx6 (table incorrectly stating the ’000

patent does not cover treating post-MI LVD patients with heart failure).) The court

acknowledged there “may be some overlap between populations of patients suffering

from CHF,” but thought this insufficient because there was not 100% overlap

between post-MI LVD and heart failure. (Appx16 n.9.) The court also questioned

whether administering carvedilol to post-MI LVD patients actually reduces their risk

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of death from heart failure. (Id.) But this all misses the point. GSK’s expert

established (and Teva’s expert conceded) that some post-MI LVD patients have

symptomatic heart failure. (Appx10602–10605; Appx11226.) GSK’s expert also

explained, without contradiction, that Teva’s partial label instructs use of the product

to treat those post-MI LVD patients with heart failure in a manner that meets every

limitation of claim 1, including in a way that reduces the risk of mortality from heart

failure. (Appx10622–10631; Appx5506–5530.) The jury could have reasonably

credited that testimony over Teva’s arguments. See, e.g., Kinetic Concepts, Inc. v. Smith &

Nephew, Inc., 688 F.3d 1342, 1362 (Fed. Cir. 2012) (holding that, when there is

“conflicting expert testimony,” the jury is “free to make credibility determinations and

believe the witness it considers more trustworthy”).

       It does not matter, for liability purposes, that the partial label instructed the

infringing use for only a subset of heart failure patients (i.e., post-MI LVD patients

with symptomatic heart failure). The label itself still establishes induced infringement

for at least that population, which is sufficient to sustain the jury’s liability finding.

See, e.g., Lucent, 580 F.3d 1317 (“[A] finding of infringement can rest on as little as one

instance of the claimed method being performed during the pertinent time period.”).

And, of course, GSK’s other evidence showed that Teva promoted its product for use

with all heart failure patients during the partial label period. See, e.g., Power Integrations,

843 F.3d at 1332–35; Ericsson, 773 F.3d at 1220, 1222; Toshiba, 681 F.3d at 1365;



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Lucent, 580 F.3d at 1323; Arthrocare, 406 F.3d at 1377; Mentor H/S, 244 F. 3d at 1379;

Moleculon, 793 F.2d at 1272.

       The district court’s treatment of GSK’s expert cardiologist testimony with

respect to causation was also erroneous. (Appx13–14.) The court focused on the

statement that he did not read Teva’s partial label before beginning to prescribe the

drug, (Appx11662–11663), but it ignored the rest of his testimony, where he said that

Teva’s other promotional materials had caused him to believe that the drug was

approved for the infringing use and thus led him to infringe. (Appx11660–11663.)

Moreover, the expert also testified that other doctors read the label, that he eventually

read the label, and that Teva’s marketing materials tell doctors to read the label. (See

pp. 15–16.) These points were more than sufficient for the jury to infer that at least

some doctors did read the label and that it caused them to prescribe the drug for the

infringing use (i.e., post-MI LVD patients with symptomatic heart failure in the partial

label period, and all heart failure patients in the full label period). See, e.g., Vanda, 887

F.3d at 1130; Sanofi, 875 F.3d at 646; Eli Lilly, 845 F.3d at 1369; AstraZeneca, 633 F.3d

at 1056. Thus, the jury’s factual finding on causation has to stand.

       Finally, the district court’s analysis of the full label period is unsupportable

given the jury’s factual findings. (Appx23–24.) The court’s error here was, again,

based largely on assuming Teva’s acts to link its generic carvedilol to Coreg® could be

ignored and then attributing the resulting direct infringement to GSK, which is wrong

as discussed in the next section. In addition, the court also observed the doctors’

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behavior did not appear to change after Teva switched to the full label in 2011.

(Appx24.) But the jury could properly infer that Teva had already caused doctors to

use its product in an infringing manner during the prior partial label period through its

press releases and comparisons of its drug to Coreg®. So Teva’s acts continued to

cause doctors’ infringement during the full label period—the changed label was

simply additional evidence of Teva’s marketing of the infringing use. And even if

there was a difference between the promoted use of Teva’s generic carvedilol and

Coreg®, Teva eliminated any difference with the full label. Allowing Teva’s even

more elaborate copying to provide grounds for a noninfringement defense is contrary

to law and common sense.

             2.     The District Court’s Treatment of the Other Factors that
                    Influenced Doctors’ Behavior Was Erroneous.
      The district court’s other overarching error was its treatment of the evidence

that doctors’ direct infringement was influenced both by Teva’s acts and other

sources. (Appx14, Appx19–20, Appx23–24 citing Appx10666–10669, Appx10676–

10678.) In particular, the court observed that “when generic companies (including

Teva) began selling carvedilol, doctors relied on guidelines and research, as well as

their own experience, in addition to GSK marketing.” (Appx19.) The court

erroneously added that no expert “viewed generic labeling, including Teva’s label, as

impacting prescribing behavior,” (id.), although GSK’s expert had in fact testified that

the label would influence doctors who followed Teva’s instructions to read it and


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further testified that Teva’s promotional materials other than the label certainly

influenced him. (See pp. 15–18.) The court thus wrongly concluded that “[i]n this

context, there was no reasonable basis for the jury to have found that anything Teva

did including selling generic carvedilol, giving it a ‘skinny label,’ and all aspects of how

Teva marketed its carvedilol - caused even a single doctor to prescribe carvedilol for

the treatment of” heart failure. (Appx19–20.)

       The court’s view of GSK’s marketing and the heart failure guidelines was

erroneous and represents yet another improper reweighing of the facts. As an initial

matter, the court seemed to think that Teva’s conduct was totally unrelated to GSK’s

marketing or the heart failure guidelines. But the jury rightly concluded that Teva

purposely connected itself to GSK’s marketing and the heart failure guidelines

through its advertisements comparing its generic to Coreg® and encouraging doctors

to use them in the exact same way. See, e.g., Power Integrations, 843 F.3d at 1334

(encouraging infringement by reference to industry standard); Ericsson, 773 F.3d at

1222 (same). Viewed in that light, Teva’s acts were absolutely responsible for doctors’

use of its product in an infringing manner. Teva gave doctors the impression that

they should use its product just like they had been using GSK’s Coreg®, knowing that

this would cause doctors to use the generic to treat heart failure (the infringing use).

GSK’s cardiologist expert testified that he would not have used Teva’s product in that

manner had Teva’s marketing materials not led him to believe that he could.

(Appx11659–11663.) And, indeed, even Teva’s cardiologist expert admitted that the

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reason he prescribed generic carvedilol the same as Coreg® and thought the heart

failure guidelines were applicable to both was because he viewed the products as

therapeutically interchangeable. (Appx11176, Appz11168.) The jury reasonably

found that it was Teva’s marketing that led doctors to think the products were

interchangeable. So the fact that Teva’s marketing piggybacked on GSK’s prior

marketing and the heart failure guidelines was no basis to set aside the jury’s factual

finding on causation.

       The district court appeared to believe that this evidence was insufficient

because it was GSK, not Teva, that originally educated doctors that carvedilol could

be used to treat heart failure. But there is nothing in the statute that lets a defendant

off the hook when it induces infringement by capitalizing on the innovator’s own

efforts to build the market for the patented treatment. The statute refers to

“induc[ing]” infringement, see 35 U.S.C. § 271(b), which the Supreme Court has noted

means “[t]o lean on; to influence; to prevail upon; to move by persuasion.” Global-

Tech, 553 U.S. at 760. None of those definitions precludes liability where the

defendant encourages infringement by telling customers to use its product just like the

patentee’s product. Nor should those actions be immune from liability—they are one

of the most egregious forms of copying.

       The legislative history of § 271(b) is consistent with this interpretation. The

statute imposes common law principles of aiding and abetting liability: “Paragraph (b)

recites in broad terms that one who aids and abets an infringement is likewise an

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infringer.” S. Rep. No. 1979, 82nd Cong., 2d Sess., at 9 (1952). Both this Court and

its predecessors have interpreted the statute consistent with that understanding. See,

e.g., Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668, (Fed. Cir. 1988) (“[W]e have

recognized that 35 U.S.C. § 271(b) provides a remedy against actively and knowingly

aiding and abetting another’s direct infringement.”); Sims v. Western Steel Co., 551 F.2d

811, 817 (10th Cir. 1977) (“This subsection contemplates that the inducer shall have

been an active participant in the line of conduct of which the actual infringer was

guilty. Thus he should be in the nature of an accessory before the fact.”).

       A person is liable as an aider and abettor so long as they provide any successful

assistance to the wrongful act, regardless of how exactly they provide that assistance.

The quintessential examples come from criminal law. See, e.g., United States v. Jaramillo,

42 F.3d 920, 923 (5th Cir. 1997) (requiring proof only “that the defendant acted in

some affirmative manner designed to aid the venture”); United States v. Powell, 113 F.3d

464, 467 (3d Cir. 1997) (“To convict for aiding and abetting, the government must

prove that the defendant associated himself with the venture, that he participated in it

as something that he wished to bring about, and that he sought by his action to make

it succeed.”). Teva’s acts certainly met this standard—by affirmatively telling doctors

that its product was the “equivalent” of Coreg®, it ensured that the doctors would

use it in the same way (including for heart failure), while also knowing that doctors

would infringe GSK’s patent when they followed that instruction. And if Teva’s

actions meet the criminal standard for aiding and abetting, then surely they meet the

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civil standard as well. Criminal punishment requires stricter standards than civil

damages.

       In fact, the common law imposes civil liability where one “knows that the

other’s conduct constitutes a breach of duty and gives substantial assistance or

encouragement to the other so to conduct himself.” RESTATEMENT (SECOND) OF

TORTS § 876(b). “If the encouragement or assistance is a substantial factor in causing

the resulting tort, the one giving it is himself a tortfeasor and is responsible for the

consequences of the other’s act.” Id. at cmt. d. Again, this common law does not

impose any restrictions on the form that the assistance or encouragement takes. It

simply asks whether the defendant encouraged the third-party to act in a tortious

manner. Teva certainly did that. It doesn’t matter that Teva could short-cut the

process by relying on what doctors already knew and simply telling them to use its

product just like Coreg®.

       Consistent with those principles, this Court has not allowed a defendant to

escape liability simply because its actions encouraging infringement built upon what

the innovator had previously done. As discussed above, this Court has affirmed jury

findings of inducement (and thus causation) where, as here, the defendant

intentionally and successfully advertises the infringing use, even if it does so by

invoking something else, like an infringing standard. See, e.g., Power Integrations, 843

F.3d at 1332–35; Ericsson, 773 F.3d at 1220, 1222; Lucent, 580 F.3d at 1323; Arthrocare,

406 F.3d at 1377; Mentor H/S, 244 F. 3d at 1379; Moleculon, 793 F.2d at 1272; see also

                                             47
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Toshiba, 681 F.3d at 1365. The jury found that Teva met this threshold by invoking

doctors’ prior knowledge about carvedilol and ensuring them that they could apply it

to Teva’s product and thereby infringe. That should be the end of the inquiry.

       The approach reflected in the statute, common law, and this Court’s precedent

is a wise one. A defendant who is liable for inducement knows of the patent, takes

affirmative acts to encourage others to infringe, and intends that they do so. See, e.g.,

Power Integrations, 843 F.3d at 1332. That defendant has already engaged in guilty acts

with a heightened mens rea. There is no need to insulate it from liability simply

because the form of its encouragement was to tell third-parties to use its product just

like the innovator’s product, knowing full well that this would cause infringement.

Indeed, eliminating liability would encourage parties to copy innovative products,

piggyback on the innovator’s prior marketing, and reap the profits of that activity

while destroying the innovator’s market. The result would diminish innovators’ ability

to use the patent system to recoup the costs necessary to bring their products to

market, ultimately harming the public.

       The facts here illustrate the problem. GSK invested hundreds of millions in a

new heart failure treatment that has extended the lives of many. (See pp. 3–5, 7.)

GSK introduced doctors to the product and showed them how to use it to extend

lives, and that ultimately resulted in the relevant medical associations changing their

guidelines for heart failure treatment to reflect GSK’s better standard of care. Teva

then entered the market, after telling doctors its product was approved for the

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treatment of heart failure and equivalent to Coreg®, and leading them to believe they

could use it in the same way. So Teva caused doctors’ resulting infringement: as

GSK’s expert testified, he and other doctors pay careful attention to Teva’s marketing

and would not have infringed without Teva’s actions. (Appx11659–11663.)

      Teva should not be allowed to escape liability by pointing to GSK’s prior work

in informing doctors how to use the product. After all, Teva’s marketing relied and

built upon what GSK had already taught the profession, and then convincing doctors

that its product was equivalent to GSK’s for all uses. To allow Teva to escape liability

in those circumstances would allow any copyist—in the pharmaceutical field or in

other areas—to induce infringement with impunity. The perplexing result would be

that only non-practicing patentees, who had done no prior marketing of their own,

could pursue inducement claims, as none of their activity could be identified as an

alternative cause of infringement. That cannot be right.

      C.     The Jury’s Findings on the Other Elements of Inducement Were
             Also Supported by Substantial Evidence.
      The discussion above demonstrates that the district court’s JMOL must be

reversed on the ground on which it was entered. For completeness, we show that

JMOL of no inducement cannot be sustained on any other ground either, because the

jury’s finding on each of the other elements was supported by substantial evidence.

      First, there was ample evidence from which the jury could infer that doctors

actually used Teva’s product to infringe. As discussed above, Teva’s marketing


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materials, and, in particular, both its partial and full labels, encourage the infringing

use and describe use of its product to treat heart failure in a manner that meets each

claim limitation. (Appx10622–10631; Appx5506–5530; Appx5531–5553.) That was

sufficient under this Court’s precedent for the jury to infer that doctors follow those

instructions and use the product in an infringing manner. See, e.g., Toshiba, 681 F.3d at

1365; Lucent, 580 F.3d at 1323; Moleculon, 793 F.2d at 1272. In addition, GSK

presented survey evidence showing that a significant percentage of doctors used

Teva’s product in an infringing manner throughout the relevant period. (Appx10727,

Appx10736.)

       Teva argued below that all this evidence was insufficient because it supposedly

did not show that doctors administered its product with the intent to reduce the risk

of mortality from heart failure. (Appx11 n.7.) But the jury could properly reject this

argument. Teva’s partial label instructed doctors to use its product “to reduce

cardiovascular mortality” in post-MI LVD patients with symptomatic heart failure,

and its full label included the further instruction to use the product for “the treatment

of mild-to-severe chronic heart failure . . . to increase survival.” (Appx5508;

Appx5532; Appx10629, Appx10623–10624.) GSK’s cardiologist expert explained

that this language (and the accompanying clinical data) taught doctors that using the

product to treat heart failure would result in a statistically significant reduction in the

risk of mortality. (Appx10651–10652, Appx10656.) The whole purpose of using

Coreg® to treat heart failure was to reduce the risk of mortality, (Appx10361–10362,

                                             50
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Appx10373, Appx10385, Appx10651, Appx11357), and, by equating its product to

Coreg® in its marketing materials, Teva communicated to doctors they should also

use generic carvedilol to reduce the risk of mortality. The jury thus reasonably

inferred that the doctors who use carvedilol to treat heart failure use it to reduce

mortality, just as Teva instructs and encourages. See, e.g., Toshiba, 681 F.3d at 1365;

Lucent, 580 F.3d at 1323; Moleculon, 793 F.2d at 1272.

       Second, there was no question that Teva knew that the acts it induced

constituted patent infringement. Teva knew of the ’000 patent throughout the

relevant period. (Apx5383; Appx10465.) Teva admitted that it knew that doctors

would use its product to treat heart failure, (Appx10488, Appx10491, Appx10453), it

repeatedly instructed doctors to use it for heart failure in an infringing manner, (see pp.

9–16), and it stood to make more money from them doing so. What’s more, Teva

tried to hide its move back to the “full” label from GSK in failing to provide a

paragraph IV certification on the ’000 patent at that time, even though both

regulatory experts agreed that FDA regulations required it to do so. (Appx10569–

1052, Appx10976, Appx11049–11050; Appx5554–5559.) That shows Teva’s

consciousness of guilt—it knew that its label instructed use of its product to treat

heart failure, otherwise it would have had no reason to conceal that fact from GSK.

The jury could thus properly infer that Teva acted with the required mental state. See,

e.g., Power Integrations, 843 F.3d at 1332–35; Ericsson, 773 F.3d at 1220, 1222; Toshiba,



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681 F.3d at 1365; Lucent, 580 F.3d at 1323; Arthrocare, 406 F.3d at 1377; Mentor H/S,

244 F. 3d at 1379; Moleculon, 793 F.2d at 1272.

                                    CONCLUSION

       For the reasons above, the Court should reverse the JMOL of no inducement

and reinstate the jury’s verdict.

Dated: July 16, 2018                    Respectfully submitted,

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           ADDENDUM
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  GLAXOSMITHKLINE LLC and SMITHKLINE
  BEECHAM (CORK) LIMITED,

                Plaintiffs,

        v.                                                 C.A. No. 14-878-LPS-CJB

  TEV A PHARMACEUTICALS USA, INC.,

                Defendant.


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                                 MEMORANDUM OPINION




  March 28,2018
  Wilmington, DE




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 r~r~
  STARK, U.S. District Judge:

         Beginning on June 12, 2017, the Court held a seven-day jury trial in this patent

  infringement action (D.I. 457,458,459,460,461,462,463 (hereinafter, "Tr.")), resulting in a

  verdict of: (1) willful induced infringement of claims 1, 2, and 3 of U.S. Patent No. RE40,000

  ("the '000 patent") by Defendant Teva Pharmaceuticals USA, Inc. ("Teva") during the "skinny

  label" (also referred to as "partial label" or "carve-out") period; (2) no induced infringement of

  claims 6, 7, 8, and 9 ofthe '000 patent by Teva during the skinny/partial label period; (3) willful

  induced infringement of all asserted claims (claims 1-3 and claims 6-9) of the '000 patent by

  Teva during the "full label" (also referred to as "amended label") period; (4) no invalidity of the

  '000 patent; and (5) an award to Plaintiffs GlaxoSmithKline and SmithKline Beecham (Cork)

  Ltd. ("GSK") of $234,110,000 in lost profits and $1,400,000 in reasonable royalty damages.

  (D.I. 448)

         Pending before the Court are the parties' post-trial motions. Teva filed a renewed motion

  for judgment as a matter oflaw ("JMOL"), or in the alternative for a new trial, on five grounds:

  (1) no inducement of infringement of any claims at any time -that is, during either the skinny

  label or full label periods - and no lost profits; (2) no inducement of any claims during the skinny

  label period; (3) no inducement of claims 6 and 7 during the full label period; (4) no willful

  infringement; and (5) invalidity. (D.I. 464) 1 GSK filed a motion for enhanced damages, attorney

  fees, and pre- and post-judgment interest. (D.I. 466) Finally, Teva has moved to strike multiple



         1
            During oral argument on the pending motions, T eva also argued that if the Court found
  liability, the proper remedy was a remittitur of damages to a figure not to exceed $1.4 million for
  a reasonable royalty, rather than a new trial on damages which would, in Teva's view, be futile.
  (D.I. 484 (hereinafter, "Hr'g Tr.") at 27-28)




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  exhibits GSK submitted in support of its post-trial motion that Teva contends were not part of the

  trial record. (D.I. 474)

          The Court heard oral argument on October 26, 2017. Having considered the parties'

  briefing (D.I. 465, 467, 471, 472, 475, 476, 477, 478, 479) and letters regarding supplemental

  authority (D.I. 483, 485, 486, 487), and for the reasons discussed below, the Court will grant in

  part and deny in part Teva's JMOL motion (D.I. 464), and deny as moot both GSK's motion

  (D.I. 466) and Teva's motion to strike (D.I. 474). 2

  I.      BACKGROUND

          Congestive heart failure ("CHF") is a chronic condition that occurs when a diseased heart

  is unable to deliver sufficient oxygenated blood to the rest of the body. (See generally '000

  patent; Lukas Tr. at 359-60 3) CHF affects over five million people in the United States, and half

  of those who develop CHF will die within five years of diagnosis. Prior to 1997, CHF treatment

  included limitation of physical activity, restriction of salt intake, and the use of a diuretic- a drug

  that decreases excess fluid- and digoxin- a drug that stabilizes heart rhythm. (See '000 patent;

  Lukas Tr. at 361) Angiotensin converting enzyme ("ACE") inhibitors were also prescribed in


          2
           0n July 27, 2017, the Court advised the parties of its inclinations (D.I. 456) concerning
  the issues the parties indicated they intended to raise (D.I. 455) in their post-trial motions. The
  Court's ruling today in favor ofT eva on the key issue of GSK's liability for induced
  infringement is different than the previously-announced inclinations. (See D.l. 456 at 2 ("I am
  inclined to disagree with Teva that no reasonable juror could have concluded that Teva's actions
  induced even a single physician to administer Teva's carvedilol to a patient for use in an
  infringing manner."); but see also general~y id. at 3 ("I conclude by emphasizing that the views
  expressed in this letter do not constitute an order but are merely my present inclinations, based
  principally on my recollection of the trial and the parties' limited post-trial submissions. I will
  only be able to make final decisions after receiving the forthcoming briefing and conducting oral
  argument."))
          3
              Citations to the trial transcript are in the format: "[Witness name] Tr. at [page number]."

                                                      2




                                                   Appx3
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  conjunction with a diuretic, digoxin, or both. (See '000 patent) While ACE inhibitors caused an

  improvement in CHF mortality rates, doctors were still looking for other solutions. (Lukas Tr. at

  362)

         In the late 1980s, GSK and its research partner, Boehringer Mannheim GmbH, began

  researching the possibility of using carvedilol to treat CHF. (Ruffalo Tr. at 1271-72) Carvedilol

  belongs to a class of chemical compounds known as beta-blockers, which are drugs used to treat

  high blood pressure or hypertension. In the early 1990s, beta-blockers, which slow the heart rate

  and depress the heart's contractility- that is, its ability to pump- were clinically contraindicated

  for CHF, as CHF patients are critically dependent on how well their heart pumps. (See Lukas Tr.

  at 357-58) Treating high blood pressure with beta-blockers worsened a patient's heart failure due

  to the beta-blocker's depressive effect on the heart's pumping function. (See id.)

         GSK's research led to unexpected results showing that "the patients who were receiving

  carvedilol were staying alive whereas the patients on placebo were the ones who were dying."

  (ld. at 364-67, 370-72; PTX-879) These results prompted GSK to file New Drug Application

  ("NDA'') No. 20-297 with the U.S. Food and Drug Administration ("FDA"), seeking approval of

  carvedilol in combination with ACE inhibitors, diuretics, or digoxin to reduce the risk of

  mortality caused by heart failure, as well as an application for a patent on a method of using

  carvedilol to decrease the risk ofmortality caused by CHF. (Lukas Tr. at 373, 379-81; PTX-229)

  In May 1997, the FDA approved carvedilol as the first beta-blocker for the treatment ofCHF,

  leading to GSK's launch of Coreg®, the brand name of its carvedilol tablets. (Lukas Tr. at 377)

  The patent issued in June 1998 as U.S. Patent No. 5,760,069 (the "'069 patent"), entitled

  "Method of Treatment for Decreasing Mortality Resulting from Congestive Heart Failure."


                                                   3




                                                Appx4
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             GSK ultimately received approval from the FDA to market Coreg® for three indications:

  (1) hypertension; (2) mild-to-severe CHF; and (3) left ventricular dysfunction ("L VD") following

  myocardial infarction (heart attack) in clinically stable patients (''Post-MI LVD"). (See Lukas Tr.

  at 382-83) Despite receiving FDA approval for three indications, GSK only marketed Coreg® in

  the United States for the CHF indication. The FDA published the '069 patent in the Orange

  Book4 with use code U-233, "decreasing mortality caused by congestive heart failure." (See

  Pastore Tr. at 889)

             GSK undertook further patent prosecution efforts, including to correct certain errors in

  the '069 patent. Consequently, on January 8, 2008, the '069 patent reissued as the '000 patent.

  (See Lukas Tr. at 373-74,405, 409-10) Claim 1 ofthe '000 patent, the only independent claim,

  recites:

                    A method of decreasing mortality caused by congestive heart
                    failure in a patient in need thereof which comprises administering a
                    therapeutically acceptable amount of carvedilol.in conjunction with
                    one or more other therapeutic agents, said agents being selected
                    from the group consisting of an angiotensin converting enzyme
                    inhibitor (ACE), a diuretic, and digoxin,

                    wherein the administering comprises administering to said patient
                    daily maintenance dosages for a maintenance period to decrease a
                    risk of mortality caused by congestive heart failure, and said
                    maintenance period is greater than six months.

  (emphasis in original) After issuance ofthe '000 patent, the '069 patent was de-listed from the

  Orange Book, and the '000 patent was listed with the same use code, i.e., U-233, "decreasing


             4
          The Orange Book is the name commonly used to refer to the FDA's publication,
  Approved Drug Products with Therapeutic Equivalence Evaluations. It includes a listing of
  approved drug products and, among other things, information about the patents that cover each
  drug product. See Intendis GmbH v. Glenmark Pharm. Inc., USA, 822 F.3d 1355, 1359 (Fed.
  Cir. 2016); see also 21 U.S.C. § 355(b)(1); 21 C.F.R. §§ 314. 3, 314.53.

                                                      4




                                                   Appx5
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  mortality caused by congestive heart failure." (Karst Tr. at 1042)

         Meanwhile, back in March 2002, Teva had filed with the FDA Abbreviated New Drug

  Application ("ANDA'') No. 76-373, seeking permission to market generic carvedilol tablets.

  (See Pastore Tr. at 442-43) Teva initially submitted a paragraph IV certification asserting that

  the ' 069 patent was invalid and requesting that its ANDA not be given final approval until a

  second Orange Book listed patent (one which covered the carvedilol compound) expired in

  March 2007. 5 Then, however, in August 2007, Teva sought FDA approval of its ANDA

  pursuant to 21 U.S.C. § 355(j)(2)(A)(viii)- a "section viii carve out" - so that it could label its

  generic carvedilol tablets as indicated only for uses not covered by GSK's '000 patent: that is, for

  treatment ofhypertension and post-MI LVD. (See Pastore Tr. at 456-57; Lietzan Tr. at 534-37)

  At this point, since the '000 patent only claimed a method of using carvedilol for treatment of

  mild to severe CHF, Teva's position was that its "skinny label" generic product would not run

  afoul of the '000 patent because Teva's product would not be approved- or labeled as being

  approved- for the infringing use of treatment ofCHF.

         In 2007, with the expiration of the '067 patent, GSK's period of exclusivity with respect

  to carvedilol ended and generic carvedilol entered the market. Fourteen companies marketed

  generic carvedilol, including Teva. (See Zusman Tr. at 1164; see also Pastore Tr. at 897-98;

  Hofmann Tr. at 1533) Specifically, on September 5, 2007, Teva received FDA approval of its

  generic tablets and launched its drug product with the carved out/skinny label -that is, excluding

  the CHF indication. (See Pastore Tr. at 461)



         5
        U.S. Patent No. 4,503,067 (the '" 067 patent"), not at issue here, covers the carvedilol
  compound.

                                                    5




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         In April2011, the FDA sent Teva a letter in response to the de-listing of certain GSK

  patents from the Orange Book, instructing Teva to "revise [its] labeling to include the

  information associated with [the de-listed] patent." (Id. at 461-63; PTX-15) One of the patents

  that had been de-listed was GSK's '069 patent, which had been reissued in 2008 as the '000

  patent. (See PTX-15; Lukas Tr: at 352-53) Teva, therefore, amended its label in 2011 to be

  essentially a copy ofGSK's full label, thereby covering all three indications: hypertension, CHF,

  and post-MI LVD. (Pastore Tr. at 461-65) The '000 patent expired on June 7, 2015, the date the

  '069 patent was originally set to expire.

         The following table is helpful for understanding the principal issues that were in dispute

  at trial and are again presented by the pending motions.

                              Indications Implicated at Various Points

   Indication       GSK's     GSK's           GSK's          GSK's     Teva's           Teva's Full
                    '000      FDA             Marketing      Orange    Skinny a.k.a.    a.k.a.
                    patent    Approval        ofCoreg®       Book      Partial a.k.a.   Amended
                                                             Listing   Carve-Out        Label
                                                                       Label            (May 2011-
                                                                       (Jan. 2008-      June 2015)
                                                                       April2011)
   hypertension     No        Yes             No             No        Yes              Yes

   mild/severe      Yes       Yes             Yes            Yes (U-   No               Yes
   CHF                                                       233)

   post-MI LVD      No        Yes             No             No        Yes              Yes

         As shown, GSK's patent-in-suit only claims a method of using carvedilol for the

  treatment of mild to severe CHF. (PTX-1 ; see Lukas Tr. at 352-54) Although GSK obtained

  FDA approval to market carvedilol as safe and effective also for the treatment of hypertension

  and post-MI LVD, it did not have patent protection on such uses, and it has never marketed its

                                                     6




                                                    Appx7
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  branded drug, Coreg®, to be used to treat anything other than CHF. (See Lukas Tr. at 350-52)

  The Orange Book listing for the '000 patent refers only to CHF, and not also to hypertension or

  post-MI LVD. (See Karst Tr. at 1040-44; Pastore Tr. at 888-90; Lietzan Tr. at 527-29, 566-67)

  When Teva initially launched and sold its generic carvedilol, during the skinny label period of

  January 2008 through April 2011, its label identified as approved indications only hypertension

  and post-MI LVD. (See Karst Tr. at 1027-28) It was not until the full label period, May 2011

  through the expiration ofthe '000 patent in June 2015, that Teva's label also included the

  previously-patented method of use- treatment ofCHF- as an approved indication for Teva's

  generic product. (See Pastore Tr. at 461-62; Zusman Tr. at 1229)

  II.    LEGALSTANDARDS

         A.      Judgment as a Matter of Law

         Judgment as a matter of law is appropriate if "the court finds that a reasonable jury would

  not have a legally sufficient evidentiary basis to find for [a] party" on an issue. Fed. R. Civ. P.

  50(a)(l ). "Entry of judgment as a matter of law is a sparingly invoked remedy," one "granted

  only if, viewing the evidence in the light most favorable to the nonmovant and giving it the

  advantage of every fair and reasonable inference, there is insufficient evidence from which a jury

  reasonably could find liability." Marra v. Phi/a. Hous. Auth., 497 F.3d 286, 300 (3d Cir. 2007)

  (internal quotation marks omitted).

         To prevail on a renewed motion for judgment as a matter of law following a jury trial, the

  moving party "must show that the jury's findings, presumed or express, are not supported by

  substantial evidence or, if they were, that the legal conclusions implied [by] the jury's verdict

  cannot in law be supported by those findings.'' Pannu v. Jolab Corp., 155 F.3d 1344, 1348 (Fed.


                                                    7




                                                 Appx8
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  Cir. 1998) (internal quotation marks omitted). "'Substantial' evidence is such relevant evidence

  from the record taken as a whole as might be accepted by a reasonable mind as adequate to

  support the finding under review." Perkin-Elmer Corp. v. Computervision Corp., 732 F.2d 888,

  893 (Fed. Cir. 1984).

            In assessing the sufficiency of the evidence, the Court must give the non-moving party,

  "as [the] verdict winner, the benefit of all logical inferences that could be drawn from the

  evidence presented, resolve all conflicts in the evidence in his favor, and in general, view the

  record in the light most favorable to him." Williamson v. Canso!. Rail Corp., 926 F.2d 1344,

  1348 (3d Cir. 1991 ); see also Perkin-Elmer Corp., 732 F .2d at 893. The Court may not assess

  the credibility of witnesses nor "substitute its choice for that of the jury between conflicting

  elements of the evidence." Perhn-Elmer Corp., 732 F.2d at 893. Rather, the Court must

  determine whether the evidence reasonably supports the jury's verdict. See Dawn Equip. Co. v.

  Ky. Farms Inc., 140 F.3d 1009, 1014 (Fed. Cir. 1998); Gomez v. Allegheny Health Servs. Inc., 71 .

  F .3d 1079, 1083 (3d Cir. 1995) (describing standard as "whether there is evidence upon which a

  reasonable jury could properly have found its verdict"); 9B Charles Alan Wright, Arthur R.

  Miller & Edward H. Cooper, Federal Practice & Procedure § 2524 (3d ed. 2008) ("The question

  is not whether there is literally no evidence supporting the party against whom the motion is

  directed but whether there is evidence upon which the jury properly could find a verdict for that

  party. '') .

            B.       New Trial

            Federal Rule of Civil Procedure 59(a) provides in pertinent part, "[t]he court may, on

  motion, grant a new trial on all or some of the issues- and to any party- as follows: ... after a


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                                                  Appx9
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  jury trial, for any reason for which a new trial has heretofore been granted in an action at law in

  federal court." New trials are commonly granted where '"the jury's verdict is against the clear

  weight of the evidence, and a new trial must be granted to prevent a miscarriage of justice,"

  where "newly-discovered evidence exists that would likely alter the outcome of the trial," where

  "improper conduct by an attorney or the court unfairly influenced the verdict," or where the

  jury's verdict was "facially inconsistent." Zarow-Smith v. N.J Transit Rail Operations, 953 F.

  Supp. 581, 584-85 (D. N.J. 1997) (internal citations omitted).

         The decision to grant or deny a new trial is committed to the sound discretion of the

  district court. See Allied Chern. Corp. v. Daiflon, Inc., 449 U.S. 33, 36 (1980); Olejins Trading,

  Inc. v. Han Yang Chern Corp., 9 F.3d 282, 289 (3d Cir. 1993) (reviewing "district court's grant

  or denial of a new trial motion" under "abuse of discretion" standard). Although the standard for

  granting a new trial is less rigorous than the standard for granting judgment as a matter of law, in

  that the Court need not view the evidence in the light most favorable to the verdict winner,

  ordinarily a new trial should only be granted "where a miscarriage of justice would result if the

  verdict were to stand," the verdict "cries out to be overturned," or the verdict "shocks [the]

  conscience." Williamson, 926 F.2d at 1352-53.

  III.   DISCUSSION

         A.      The Jury Could Not Reasonably Find that Teva Caused Doctors to Infringe

         The jury found that Teva induced infringement of claims 1, 2, and 3 of the '000 patent

  during the skinny label period and of claims 1-3 and 6-9 during the full label period. (D.I. 448 at

  2-3) Teva moves for JMOL of no inducement or no lost profits damages on the basis that the

  jury could not reasonably have found that Teva caused doctors to infringe these claims ofGSK' s


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                                                Appx10
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  patent during the respective periods. 6 (0.1. 465 at 4) Having reviewed the record under the

  appropriate standard, including by drawing all reasonable inferences in favor of GSK as the

  verdict winner, the Court concludes that substantial evidence does not support the jury's findings

  on inducement in either the skinny or full label period. Therefore, the Court will grant this

  portion ofTeva' s JMOL motion.

         To prove inducement, GSK was required to prove by a preponderance of the evidence

  that, among other things, "Teva's alleged inducement, as opposed to other factors, actually

  caused the physicians to directly infringe." (O.I. 440 at 26) (emphasis added) The jury was

  instructed that "Teva cannot be liable for induced infringement where GSK does not show that

  Teva successfully communicated with and induced a third-party direct infringer and that the

  communication was the cause of the direct infringement by the third-party infringer." (!d. at

  31) (emphasis added) Thus, the Court must now evaluate whether substantial evidence supports

  the jury' s finding that Teva did cause the alleged infringement. 7

         Teva contends that the substantial uncontroverted evidence presented at trial showed that

  alternative factors caused doctors to infringe GSK's patent. Teva thus asserts that a reasonable



         6
          Teva requested a new trial as an alternative to JMOL, but explained that if the Court
  agreed there is a lack of evidence of inducement, a new trial would be futile. (See 0.1. 465 at 10
  n.3 ("[W]hile Teva requests a new trial under Rule 59 as an alternative remedy, that trial would
  inevitably result in a similar failure of proof."); see also Hr'g Tr. at 28) The Court agrees with
  Teva that, given the conclusions announced here, a new trial would be futile.
         7
           As an alternative basis for JMOL of no inducement, Teva contends that GSK failed to
  "offer any evidence that any doctor- let alone all doctors - administer carvedilol with the
  specific intent to decrease mortality instead of to treat symptoms or for other purposes." (O.I.
  465 at 9) Without proving such intent, Teva argues, there can be no direct infringement, and
  accordingly, no inducement. (!d. at 8-9) Because the Court finds GSK failed to prove the
  causation element, it need not address this argument.

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  jury could not conclude that even a single doctor- let alone the entire class of infringing doctors

  -was induced to infringe based on Teva 's actions. Moreover, because GSK only asserted a

  "class" theory of liability- that is, that Teva induced doctors as a class to infringe- and failed to

  prove that theory, Teva's view is that GSK cannot now have the verdict upheld on an alternative

  theory ofliability (i.e., the theory that "at least one'' doctor was induced to infringe by Teva's

   actions). (See D.I. 465 at 1-2)

          GSK responds that the jury's verdict should be sustained because GSK presented "ample

  evidence," including Teva's label and marketing materials, "from which [the jury] could infer

  Teva actually caused physicians to directly infringe." (D.I. 472 at 6) (internal quotation marks

  omitted) GSK argues that "JMOL of no inducement is only appropriate where the plaintiff fails

  to present sufficient evidence of even one act of direct infringement." (!d. at 9; see also Hr'g Tr.

  at 52 ("[T]he law doesn't require us to prove [inducement of the entire class]. What the law

  requires us to prove is just one ofthe class."); id. at 57 ("All we needed was circumstantial

  evidence of one doctor ... .");see generally D.I. 440 at 4.2.1 (instructing jury: "Proof of direct

  infringement may be based on circumstantial evidence.")) GSK contends that it provided

  substantial evidence through the testimony of its expert, Dr. Peter McCullough, permitting a

  reasonable factfinder to find that at least one doctor was induced to prescribe generic carvedilol

  by Teva's actions. (!d. at 71-72)

          The Court agrees with Teva that neither sufficient nor substantial evidence supports the

  jury's finding of inducement. GSK failed to prove by a preponderance ofthe evidence that

   "Teva 's alleged inducement, as opposed to other factors, actually caused the physicians [i.e., as a

   class or even at least one of them] to directly infringe," by prescribing generic carvedilol and to


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                                                 Appx12
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  do so for the treatment of mild to severe CHF. (D.I. 440 at 26, 31) Uury instruction; emphasis

  added) Without proof of causation, which is an essential element of GSK' s action, a finding of

  inducement cannot stand. 8

          GSK insists that Dr. McCullough identified himself as at least one doctor who was

  induced to prescribe generic carvedilol to a patient for the treatment of mild to severe CHF due to

  Teva's actions (or inactions), including Teva's label. (See Hr'g. Tr. at 52-53 (discussing GSK

  slide 4); id. at 69-72 (discussing GSK slides 32-33)) But the portion of Dr. McCullough's

  testimony to which GSK points (see McCullough Tr. at 631, 1659-63) does not show Dr.

  McCullough stating what GSK seems to think he said. Dr. McCullough merely said, in a

  conclusory manner, that Teva's labels (partial and full) "meet each and every limitation of claim

   1" and a doctor performing the method of the claim would be the direct infringer. (See id. at

  631) But even if the label were enough in a post-launch world, Dr. McCullough specifically

  stated that he did not read Teva's label prior to administering generic carvedilol, but "just



          8
            The parties dispute whether the "class'' theory and the "at least one" theory are really two
  separate theories and, if so, which theory GSK was required to prove. (Hr' g Tr. at 14-15, 24-26,
  52) While Teva argues that the Federal Circuit clearly outlined two separate theories for proving
  induced infringement, see Dynacore Holdings Corp. v. U.S. Philips Corp., 363 F.3d 1263, 1274
  (Fed. Cir. 2004); see also Hr'g Tr. at 14-15, GSK maintains that the two theories "are actually
  one and the same" (Hr'g Tr. at 78, 52). The Court agrees with Teva that the two theories are
  distinct from one another. See Dynacore, 363 F.3d at 1274-75 ("Plaintiffs who identify
  individual acts of direct infringement must restrict their theories of vicarious liability- and tie
  their claims for damages or injunctive relief- to the identified act. Plaintiffs who identify an
  entire category of infringers (e.g., the defendant's customers) may cast their theories of vicarious
  liability more broadly, and may consequently seek damages or injunctions across the entire
  category.") (internal citations omitted); see also Pharmastem Therapeutics, Inc. v. Viacell, Inc.,
  2004 WL 2898061, at *3 (D. Del. Dec. 14, 2004) (requiring plaintiffs to "adduce evidence that
  100% of the defendants' ... units [infringed]" after plaintiffs' position at trial was that "all'' of
  defendants' units infringed). The Court need not decide which theory GSK was required to
  prove as, under either theory, GSK failed to prove causation.

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  assume[ d) they were the same" based on the information the generic company provided. (See id.

  at 1659-63) As Dr. McCullough concedes that he did not read Teva's label, he cannot state, for

  instance, that he noticed or otherwise knew what (if anything) that label said about using

  carvedilol to treat CHF. Moreover, Dr. McCullough testified that he relied on various other

  sources, none of which are attributable to Teva, in deciding to prescribe carvedilol, both before

  and after generics entered the market. (See McCullough Tr. at 666-69, 676-78) GSK, therefore,

  has not met its burden to show inducement.

          Below, the Court describes with more particularity its conclusion with respect to first the

  skinny label period and then the full label period.

                 1.      The Skinny Label Period

          The skinny label period, January 8, 2008 through April 30, 2011, is the period during

  which Teva's label carved out the CHF indication pursuant to 21 U.S.C. § 355G)(2)(A)(viii)

  ("section viii"). The Court agrees with Teva that the record lacks substantial evidence that

  Teva's skinny label, in combination with other acts Teva took (or refrained from taking) during

  this period, caused of any physician's direct infringement. (See D .I. 465 at 13-25) Instead, as

  Teva argues, the record conclusively demonstrated- and a reasonable jury could only have found

  -that any infringing use by any physician during the skinny label period was caused by factors

  unrelated to Teva.

          The unrebutted evidence presented at trial showed that Teva's skinny label omitted from

   its label the language contained on GSK's Coreg® label concerning the use of carvedilol to treat

   CHF. (See Lietzan Tr. at 539, 541 ; Zusman Tr. at 1190-91) It is further undisputed that Teva' s

   generic carvedilo1, during the skinny label period, was not approved for treatment of CHF,


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  making such use an "off-label" use. Moreover, GSK's expert, Dr. McCullough, conceded that he

  would not prescribe generic carvedilol for CHF if it was not an approved use on the label. (See

  McCullough Tr. at 1660-61) The Court may, indeed must, consider unrebutted evidence

  presented at trial that supports the moving party on JMOL, in evaluating whether the jury had

  substantial evidence to support a reasonable finding against the moving party. See Integra

  Lifesciences L Ltd. v. Merck KGaA, 496 F.3d 1334, 1345 (Fed. Cir. 2007) ("The rule that a jury

  verdict is reviewed for support by 'substantial evidence' does not mean that the reviewing court

  must ignore the evidence that does not support the verdict. . . . [T]he court should give credence

  to the evidence favoring the nonmovant as well as that evidence supporting the moving party that

  is uncontradicted and unimpeached.") (internal quotation marks omitted).

         Teva's skinny label did not instruct doctors to prescribe generic carvedilol for an off-label

  use, i.e., treatment of CHF. See Warner-Lambert v. Apotex Corp., 316 F.3d 1348, 1364-65 (Fed.

  Cir. 2003) ("[T]he request to make and sell a drug labeled with a permissible (non-infringing)

  use cannot reasonably be interpreted as an act of infringement (induced or otherwise) with

  respect to a patent on an unapproved use, as the ANDA does not induce anyone to perform the

  unapproved acts required to infringe."). Similarly, Teva's skinny label identified the approved

  indications as being hypertension and post-MI LVD, which were not covered by GSK's patent,

  and which cannot be considered infringing uses. See id. 9


         9
           GSK contends that certain post-MI LVD language in Teva's skinny label provides
  instructions for "treating heart failure patients'" and that "patients with post-MI LVD ... suffer
  from an early stage ofheart failure." (D.I. 472 at 14; see also PTX-1080.0003 (Teva skinny
  label: "Carvedilol is indicated to reduce cardiovascular mortality in clinically stable patients who
  have survived the acute phase of a myocardial infarction and have a left ventricular ejection
  fraction of::; 40% (with or without symptomatic heart failure) .... ")) To GSK, this language on
  Teva's label "encourages doctors to use carvedilol to reduce the risk of death from symptomatic

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         While GSK' s evidence of inducement during the skinny label period consisted principally

  ofTeva's label (and testimony about it), GSK did present other evidence. In seeking to prove

  inducement, GSK relied on Teva' s "AB rating" as well as Teva's 2008 and 2009 product

  catalogs and Teva's October 2009 Generic Product Reference Guide. (PTX-1208; PTX-1212;

  PTX-1226) These marketing materials trumpeted Teva' s AB rating, without expressly stating

  that Teva's generic carvedilol was not approved for treatment ofCHF. In the Court' s view, even

  the totality of this evidence, taken in the light most favorable to GSK, and drawing all reasonable

  inferences in favor of GSK, cannot support a reasonable finding that T eva caused any

  infringement of GSK' s ' 000 patent.

         The jury was instructed that "[t]he fact that Teva obtained an AB rating for its generic

  product is not by itself a sufficient basis to find that Teva had an intent to infringe." (D.I. 440 at

  29) GSK argues that Teva did something more than "obtain[] an AB rating;" Teva also listed

  and marketed Teva's generic carvedilol as AB rated to Coreg®, without specifying that Teva' s

  generic carvedilol - unlike GSK' s Coreg® - was not approved for the CHF indication. (See D.I.




  congestive heart failure, as required by the claims." (D .I. 4 72 at 14) The Court disagrees. While
  there may be some overlap between populations of patients suffering from CHF - the treatment
  ofwhich is within the scope ofthe '000 patent's claims- and those suffering from post-MI LVD
  -whose treatment is outside the scope of the claims - the two indications are distinct and require
  different clinical testing and different FDA approvals to treat. (See Zusman Tr. at 1183-84
  (explaining difference between post-MI LVD patients and CHF patients); see also Shusterman
  Tr. at 1522-23 (explaining that studies for each indication involved "[f]undamentally different
  patient group[s]" and "[f]undamentally different physiology going on in those two periods of
  time"); McCullough Tr. at 605-06 (differentiating post-MI LVD patients from CHF patients);
  id. at 682 (admitting that post-MI LVD is broader than CHF, as not all post-MI LVD patients
  suffer from CHF)) To infringe the '000 patent, carvedilol must have been prescribed to treat the
  risk of mortality caused by CHF. Accordingly, a reasonable juror could not have found that
  Teva' s inclusion of post-MI L VD language in its skinny label caused or even encouraged direct
  infringement ofthe ' 000 patent's claimed method ofuse oftreating CHF.

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  472 at 5, 15) But this fact does not support a reasonable finding that Teva caused infringement.

  As both parties showed at trial, being AB rated signifies that a generic drug is therapeutically

  equivalent to a branded drug. (See Lietzan Tr. at 542; Karst Tr. at 1031-32) The undisputed

  evidence demonstrates that a generic drug cannot be listed as "AB rated" generally, as "AB

  rated" is a relative term; it necessarily requires a comparison between the generic drug and some

  branded reference drug. (See Lietzan Tr. at 534; see also Karst Tr. at 1031-32)

         In addition, as GSK conceded, there is no FDA requirement that a generic drug company

  specify for which uses it is (or is not) AB rated. (See Lietzan at 577-78) Nor had either party's

  experts ever seen such a clarifying statement in any press release or product catalog. (See Lietzan

  Tr. at 548-49, 577-78; Karst Tr. at 1030) 10 The Orange Book states that therapeutic equivalent

  determinations are not made for unapproved off-label indications. (See DTX-2171; Karst Tr. at

   1035) GSK's expert, Professor Erika Lietzan, acknowledged that "the meaning of

  therapeutically equivalent of AB rating is if the generic drug is used in accordance with its label,

  you would expect it to have the same clinical effect in a person as if that person had taken the

  brand drug." (Lietzan Tr. at 534 (emphasis added); see also id. at 542 ("AB rating means ... if a



          10
            Teva contends that "GSK seeks to impose on Teva (and the entire industry) an
  affirmative duty to correct the incorrect assumption that doctors purportedly make by
  misunderstanding the FDA's AB-rating designation, or risk being held liable for all conduct of
  the doctors." (D.I. 465 at 2-3) This is not the only unprecedented "duty" GSK seeks to impose.
  GSK also asks that this case make clear that when a generic adds an indication to its label by
  eliminating a previous carve-out it must send the branded company a new paragraph IV notice
  (see Hr'g Tr. at 120; Tr. at 1840-41 (GSK closing argument)), and provide "disclaimers
  clarifying its product was not approved for heart failure" (see, e.g., D.I. 472 at 15). GSK points
  to no authority to support the obligations it would have the Court create, duties which appear to
  be inconsistent with governing law. See generally Warner-Lambert, 316 F .3d at 1365 ("[I]ntent
  to induce infringement cannot be inferred even when the defendant has actual knowledge that
  some users of its product may be infringing the patent.").

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  patient took the generic carvedilol for one of the uses in its label, you would expect it to have the

  same clinical effect as if the patient is taking Coreg.")) Teva's skinny label, as addressed above,

  omitted substantial information regarding the CHF indication and, instead, stated that the product

  was approved for hypertension and post-MI LVD indications. Accordingly, there is not legally

  sufficient evidence to support a finding that Teva, by listing its carvedilol as AB rated to Coreg®

  in product catalogs and reference guides, encouraged infringement.

         Additionally, a reasonable juror would had to have found, based on the record presented

  at trial, that in July 2007, prior to the launch of generic carvedilol (including by Teva), doctors

  deciding to write a prescription for carvedilol relied on various sources otlrer tlran Teva's label

  and marketing materials. In addition to the knowledge and experience that ordinarily skilled

  cardiologists had acquired by July 2007 about the benefits of treatment with carvedilol, such

  doctors had access to American Heart Association and American College of Cardiology

  guidelines, carvedilol research studies published in the New England Journal ofMedicine, The

  Lancet, and the British Heart Journal, GSK's own Coreg® label and product insert, and GSK's

  extensive promotional activity- totaling nearly $1 billion (See Vojir Tr. at 508-09)- which

  included sending doctors to hospitals, giving seminars, and detailing, marketing, and advertising

  Coreg®. (See D.I. 465 at 7-8; Vojir Tr. at 497-511; McCullough Tr. at 666-69, 676-77; Zusman

  Tr. at 1151, 1164-65; PTX-78; DTX-2655.4; PTX-534)

         Further, Teva showed that once generic carvedilol entered the market in September 2007,

  and continuing beyond 2007, doctors continued prescribing carvedilol (be it Coreg® or a

  generic) in the same manner as they had prior to the generics' entrance, as they based their

  prescription decisions on the various factors addressed above without relying on Teva's- or any


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  other generic manufacturers' -label. (See McCullough Tr. at 677-78) GSK's expert, Dr.

  McCullough, testified that he had not read Teva's generic label before he started writing

  prescriptions for carvedilol. (See id. at 1662-63) 11 As GSK concedes, prior to the generics'

  entrance into the market in 2007, physicians already knew how to use carvedilol for treating

  CHF. (Hr' g Tr. at 85-86) Three cardiologists testified at trial- GSK's expert, Dr. McCullough,

  and Teva's experts, Drs. Zusman and Rosendorff- and all three agreed that even in September

  2007, when generic companies (including Teva) began selling carvedilol, doctors relied on

  guidelines and research, as well as their own experience, in addition to GSK marketing. (See

  McCullough Tr. at 676-79; Zusman Tr. at 1164-72, 1176-77; RosendorffTr. at 1296-97) None

  viewed generic labeling, including Teva's label, as impacting prescribing behavior. (See id.) 12 In


         11
              The specific testimony was as follows:

         Q.        Now, before you started administering generic carvedilol to your patients,
                   whether you wrote it as Coreg or not, did you read Teva's generic label?

         A.        No, I didn't.

         Q.        Whynot?

         A.        I just assume they were the same.

         The Court also agrees with Teva that Dr. McCullough failed to acknowledge the
  causation requirement of an inducement claim. (See, e.g., D.l. 477 at 3) (citing, e.g.,
  McCullough Tr. at 614-1 7)
         12
            The only "exception" to this is Dr. Randall Zusman's testimony regarding the
  hypothetical scenario of what might be called an "unfrozen caveman cardiologist" (see also
  Saturday Night Live: Unfrozen Caveman La-vtyer (NBC television broadcast 1991-96))- that is,
  "someone who is inexperienced, somehow has missed all of this education during the course of
  the their training, now they are going to treat a patient with heart failure, and they somehow came
  upon Teva's skinny label." (Zusman Tr. at 1153-54) Even such a doctor (who would not have
  been a person of ordinary skill in the art at any pertinent date) "would immediately see that the
  [CHF] indication is not included" on Teva's skinny label and would then have turned to various

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  this context, there was no reasonable basis for the jury to have found that anything Teva did-

  including selling generic carvedilol, giving it a "skinny label," and all aspects of how Teva

  marketed its carvedilol - caused even a single doctor to prescribe carvedilol for the treatment of

  CHF.

         Teva's uncontroverted evidence of alternative factors that caused physicians to prescribe

  carvedilol in an infringing manner cannot be ignored. See Integra, 496 F .3d at 1345 ("The rule

  that a jury verdict is reviewed for support by 'substantial evidence' does not mean that the

  reviewing court must ignore the evidence that does not support the verdict. . . . [T]he court

  should give credence to the evidence favoring the nonmovant as well as that evidence supporting

  the moving party that is uncontradicted and unimpeached.") (internal quotation marks omitted).

         As Teva correctly notes, no direct evidence was presented at trial that any doctor was ever

  induced to infringe the '000 patent by Teva's label (either skinny or full). There was no direct

  evidence that Teva's label caused even a single doctor to prescribe generic carvedilol to a patient

  to treat mild to severe CHF. Hence, in order to uphold the verdict, the Court must find in the

  record substantial evidence to render it reasonable for the jury to have inferred that at least one

  doctor was so induced. GSK, as the verdict winner, is entitled to the benefit of all reasonable

  inferences that may be drawn from the evidence presented to the jury. The Court's

  determination, however, is that- given the dearth of evidence that doctors read and understand

  and are affected by labels, and given the vast amount of evidence that doctors' decisions to

  prescribe carvedilol during the relevant periods were influenced by multiple non-Teva factors-




  non-Teva guidelines, textbooks, and research to gather information necessary to making a
  prescribing decision. (See id.)

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  such an inference was an unreasonable one for the jury to have drawn. See McAnally v.

  Gildersleeve, 16 F.3d 1394, 1500 (8th Cir. 1994) ("[Courts] cannot accord the jury with the

  benefit of unreasonable inferences, or those at war with the undisputed facts.") (internal

  quotation marks omitted). 13

         GSK suggests that the Court cannot (or at least should not) grant Teva's JMOL because it



         13
            In reaching this conclusion, the Court is applying the same legal standards on which it
  instructed the jury, including its instructions on "Induced Infringement" and "Inducement Must
  Cause Direct Infringement." (D.I. 440 at 4.2 (listing each element GSK must prove to show
  inducement, including "that Teva's alleged inducement, as opposed to other factors, actually
  caused the physicians to directly infringe"); id. at 4.2.4 ("Teva cannot be liable for induced
  infringement where GSK does not show that Teva successfully communicated with and induced
  a third-party direct infringer and that the communication was the cause of the direct infringement
  by the third-party infringer. . . . GSK is not required to present hard proof of any direct infringer
  physician stating, for example, that she read Teva's labels or other Teva materials and that these
  labels or other Teva materials caused her to prescribe Teva's generic carvedilol in an infringing
  manner. GSK must prove that Teva's actions led physicians to directly infringe a claim of the
  '000 patent, but GSK may do so with circumstantial- as opposed to direct- evidence."))

          The Court recognizes that these are not the instructions GSK proposed. (See generally
  D.l. 431 at 27-29) GSK, while not waiving any objections, has not renewed its objections nor
  raised any argument that the Court should, in evaluating Teva's JMOL motion, apply a standard
  different than the one on which it instructed the jury. (See generally Tr. at 1414-15, 1430-32)
  Teva contends that the jury instructions were correct and emphasizes that GSK has not contended
  the Court should not apply them to the motion. (See Hr'g Tr. at 6 ("The jury instructions
  correctly set out the law .... And we, we think, to be clear, that the instructions are correct. But
  we think that GSK hadn't argued specifically that you should apply a different standard."))

          Therefore, the Court perceives no basis to conclude that its instructions were incorrect
  and, for purposes ofTeva's JMOL motion, the Court has applied the standards it provided in its
  jury instructions. (See also D.l. 411 at 3-5 (holding that in post-launch context, patentee must
  prove actual inducement); Tr. at 1414 (GSK counsel conceding, in context of post-launch
  inducement, "the law is and ... the [C]ourt's rulings have shown there [are] causation
  requirements"); see generally Markman v. WestvieH' Instruments, Inc., 52 F.3d 967, 975 (Fed.
  Cir. 1995) ("While the jury's factual findings receive substantial deference on motion for JMOL,
  the legal standards that the jury applies, expressly or implicitly, in reaching its verdict are
  considered by the district court and by the appellate court de novo to determine whether those
  standards are correct as a matter oflaw."))

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  denied Teva's motion for summary judgment. (See, e.g., D.I. 472 at 2) ("Teva's JMOL request

  should be denied because it repeats the same arguments the Court has rejected before trial,

  wrongly argues that GSK's evidence is insufficient even though the Court already concluded it

  could support a jury verdict, asks the Court to substitute its judgment for the jury's on disputed

  facts, and ignores the jury charge.") The Court disagrees. In connection with adopting

  Magistrate Judge Burke's recommendation to deny Teva's motion for summary judgment of non-

  infringement, the Court wrote:

                 Defendants may prevail at trial based on their view that GSK's
                 "long chain of inferences" does not establish causation. But that is
                 a matter for the jury to decide after hearing the conflicting evidence
                 (e.g., what the label instructs versus whether anyone read it, how
                 Teva marketed its generic product versus whether cardiologists
                 already knew to use carvedilol before GSK even obtained its
                 patent, etc.) to be presented by both sides. The Court does not find,
                 on the record before it, that "GSK's proposed inferences [are]
                 unreasonable."

  (D.I. 411 at 5) (internal citations omitted) After reviewing the entirety of the record GSK

  actually created at trial, as well as the unrebutted trial evidence presented by Teva, the Court now

  concludes (as it is free to do, notwithstanding the assessment it made prior to trial), that the

  inference of causation that GSK asks be drawn is not reasonable, as it is not supported by

  substantial evidence in the trial record.

         Considering the record as a whole, substantial evidence does not support a finding by a

  reasonable factfinder that even at least one doctor was induced to prescribe generic carvedilol to

  be used in an infringing manner due to Teva 's actions, as opposed to the various other factors




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  supported in the record, during the skinny label period. 14 Therefore, the Court cannot uphold the

  verdict of infringement with respect to the skinny label period.

                 2.     The Full Label Period

         The full label period, May 1, 2011 through June 7, 2015, runs from when Teva amended

  its label to include the CHF indication until the '000 patent expired. In attempting to prove

  inducement during the full label period, GSK presented evidence of Teva' s full label along with

  various other materials, including Teva's 2004 and 2007 press releases, Teva's 2011 product

  catalog, the 2012 and 2013 editions ofTeva's Monthly Prescribing Reference ("MPR"), and

  Teva's AB rating (including as it was listed on Teva's website). (See PTX-1297; PTX-1301;


         14
           Following oral argument, the parties notified the Court on several occasions of
  subsequent authority they believe is pertinent to the issues pending before the Court. (See D.I.
  483, 485, 486, 487) The Court has considered these new cases, and they do not alter the outcome
  announced in this opinion.

          For instance, GSK directs the Court to Sanoji v. Watson Laboratories Inc., 875 F.3d 636,
  646 (Fed. Cir. 20 17), for the proposition that the marketing of a generic drug with labeling that
  encourages infringement can be viewed as causing infringement despite the fact that the
  innovator company published the results of clinical studies and promoted the patented use. (See
  D.l. 485 at 2) That case does not persuade the Court to reach a different conclusion than
  described above. Sanoji involved the ordinary Hatch-Waxman framework, "where a claim of
  induced infringement is filed before the generic has launched its product, and necessarily, before
  the generic has even attempted to communicate with any direct infringer." (D.I. 411 at 3)
  (emphasis added) In those cases, as this Court held during earlier portions of this case, "the
  focus must be on intent, rather than actual inducement." (Id.) Here, by contrast, "GSK filed its
  case almost seven years after Defendants launched their generic carvedilol products into the
  market. Hence, GSK's inducement claims are not premised on a hypothetical, but instead must
  be supported by sufficient evidence as to what actually happened during the relevant time
  period." (Id. at 3-4) (internal citations and quotation marks omitted) This Court has decided that
  reliance on a label and speculation about what may occur in the future cannot substitute for actual
  evidence about what has actually occurred in the past when, as in this case, there has been a
  period of actual, past conduct that is pertinent to infringement. Additionally, unlike the label
  involved in Sanoji, Teva's skinny label expressly carved out the patented use from its label.
  Therefore, the skinny label here does not support the same sort of inducement inferences the
  court found present in Sanoji.

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  PTX-1165; PTX-1203; PTX-1205; PTX-0860; McCullough Tr. at 635-36)

         As addressed above, however, Teva presented substantial, unrebutted evidence of

  multiple factors unrelated to Teva that actually caused doctors to infringe the '000 patent. A

  reasonable factfinder could only have found that these alternative, non-Teva factors were what

  caused the doctors to prescribe generic carvedilol for an infringing use. Regardless ofTeva's

  actions after it amended its label in May of 2011, including its elimination of the carve-out from

  its label, physicians were already prescribing generic carvedilol to treat CHF at that time. No

  substantial evidence was presented at trial to support a finding that anything about doctors'

  behavior- either as a class, or even a single doctor- was induced to change by Teva's label, or

  by anything else Teva did (or failed to do). 15 GSK conceded that physicians' reasons for and

  methods of prescribing carvedilol did not change when generics entered the market. (See

  McCullough Tr. at 677-78) For all these reasons, a reasonable jury could not find that Teva

  caused any direct infringement and, therefore, Teva cannot be held liable for inducement of

  infringement.

         In sum, substantial evidence does not support the jury's finding on causation, and

  therefore does not support its verdict that Teva is liable for induced infringement, during both the

  skinny and full label periods. The Court will grant Teva's JMOL. Without a finding of

  infringement, there is no liability, so Teva cannot be found to be a willful infringer and cannot be

  ordered to pay GSK any damages. Accordingly, the Court will grant Teva's JMOL motion on



         15
           In coming to this conclusion, the Court is not holding that a full label will never be
  sufficient to prove causation, only that, in the context of this specific case, confronting Teva's
  specific motion, Teva's full label (along with the other evidence presented at trial) is insufficient.
  (See Hr'g Tr. at 87) (GSK's counsel acknowledging that "this is such a fact specific case")

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  each of these grounds. 16


         16
             Both sides of this case identify important policy questions they see as being implicated
  by their disputes. GSK contends that a finding in favor ofT eva, absolving the generic from
  liability for a method of treatment claim, will cause "the entire Hatch-Waxman framework [to]
  come[] crashing down" because it will result in '·every generic dragging their feet so as not to go
  to trial during the 30-month stay in the Hatch-Waxman cases and then launch at risk and they're
  home free," because the innovator branded company will necessarily already have educated the
  market to use the drug. (Hr'g Tr. at 86-87) This reality, it is argued, combined with the Court's
  determination that the branded company cannot rely exclusively on the generic's label when the
  generic has already begun marketing its product, create a formula for generics to insulate
  themselves from any possible liability for induced infringement. (See id.; see also D.l. 472 at 11
  (warning that acceptance ofT eva's view "creates an incentive for generic manufacturers to
  launch at risk, destroy the innovator's market, and then argue it was not liable because its label
  was not the 'sole cause' of the direct infringement"))

          For its part, Teva asserts that "GSK is fundamentally trying to use this case to put the
  [Hatch-Waxman] system on trial." (Hr'g Tr. at 30) In particular, in Teva's view, upholding the
  jury's verdict and allowing GSK to collect enormous damages (well beyond Teva's carvedilol
  revenues, and orders of magnitude above its profits on the product (see id. at 47-48, 117)) would
  eviscerate the section viii carve-out, as there would be no way a generic could avoid inducing
  infringement even if all the infringement is based on an off-label use. (See id. at 31 (arguing
  carve-outs are "part of the statute," which was "designed to enable the sale of drugs for non-
  patented uses [that are addressed on the skinny label] even though this would result in some off-
  label infringing uses"); see also D.l. 477 at 10-11 ("The implications ofGSK's position cannot
  be understated: GSK seeks to place an affirmative obligation on generic pharmaceutical
  companies to police and affirmatively correct doctors' misunderstanding of AS-ratings. This is
  not the law."); D.I. 465 at 23 n.11 ("By endorsing [GSK's] legal theory, the Court would create a
  new rule that would dramatically upset the delicate balance struck by the Hatch-Waxman Act.").
  Since section viii is in the statute, it would be wrong and problematic, in Teva's view, to
  effectively read it out ofthe Hatch-Waxman Act. See Caraco Pharma. Labs., Ltd. v. Novo
  Nordisk A/S, 566 U.S. 399, 415 (20 12) ("[S]ection viii provides the mechanism for a generic
  company to identify those [unpatented] uses, so that a product with a label matching them can
  quickly come to market."); Takeda Pharms. U.S.A., Inc. v. West-Ward Pharm. Corp., 785 F.3d
  625, 630 (Fed. Cir. 2015) ("[A) generic manufacturer may avoid infringement by proposing a
  label that does not claim a patented method of use, ensuring that one patented use will not
  foreclose marketing a generic drug for other unpatented ones.") (internal quotation marks
  omitted); id. at 631 ("[Hatch-Waxman] was designed to enable the sale of drugs for non-patented
  uses even though this would result in some off-label infringing uses.").

          The Court notes the parties' concerns and hopes neither side is correct in its predictions
  as to the dire consequences of the Court's ruling. Beyond prompting these observations,
  however, the parties' policy arguments have not impacted the Court's ruling on the pending

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            B.      Substantial Evidence Supports the Jury's Finding of No Invalidity

            Teva additionally seeks JMOL of invalidity, or a new trial, on two grounds: (1) the Kelly

  reference anticipates the asserted claims; and (2) the asserted claims are obvious in light of Kelly

  and Garg. (See D.I. 465 at 27-29) The Court is not persuaded by Teva and will deny this aspect

  ofTeva's JMOL motion.

            Regarding anticipation, before trial, the Court identified three genuine disputes of

  material fact: (1) whether Kelly disclosed a maintenance period greater than six months;

  (2) whether Kelly's patient population was the same as that covered by the claims; and

  (3) whether Kelly was "too theoretical" to be considered enabling. (See D.I. 380 at 2-3, 5-6; D.I.

  417 at 1-2 & n.l) On each of these factual questions, Teva contends that the jury's findings for

  GSK were unreasonable. (See D.I. 465 at 27-29) The Court disagrees.

            GSK presented sufficient evidence to support a reasonable inference that the Kelly

  reference only taught treatment follow-up after six months, rather than continuing treatment for

  six months (see, e.g., McCullough Tr. at 1673, 1677-78, 1731-32) and that the study may have

  dealt with a different patient population, as more than one type of heart failure exists and Kelly

  did not specify which type of heart failure patients it was treating (see, e.g., id. at 1672-73, 1681-

  82). GSK also presented sufficient evidence to support the inference that Kelly was too

  theoretical, as the study had not yet begun and could require undue experimentation. (See, e.g.,

  id. at 1678-79) Each of these factual disputes was for the jury to resolve, and its finding that

  Teva did not prove the contrary by clear and convincing evidence was reasonable based on the

  record.


  motions.

                                                     25




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         Regarding obviousness, Teva contends that the questions left open by Kelly (as addressed

  above) were all answered by Garg. (See D.l. 465 at 29) Thus, Teva asserts that the claims are

  obvious and the jury's conclusion, even in light of GSK's evidence of secondary considerations

  of non-obviousness, was unreasonable. (See id. at 29-30) However, as GSK notes (and as the

  Court finds above), the jury's finding that Kelly did not disclose the three disputed claim

  elements was reasonable based on the record. Moreover, contrary to Teva's contention, GSK

  provided evidence through Dr. McCullough that Garg does not supply the duration element

  lacking in Kelly. (See McCullough Tr. at 1682) This evidence, in addition to GSK's evidence

  that the prior art taught away from and discouraged beta-blockers in heart failure, was sufficient

  to render the jury's finding that the patent was non-obvious reasonable. Therefore, the Court will

  deny Teva's motion for JMOL or a new trial on invalidity.

  IV.    CONCLUSION

         For the reasons stated above, the Court will grant in part and deny in part Teva's motion

  for judgment as a matter oflaw. (D.l. 464) Because substantial evidence does not support a

  finding of induced infringement, there is no basis for enhanced damages, attorney fees, and

  interest. Accordingly, GSK's motion (D.I. 466) and Teva's motion to strike multiple exhibits

  GSK submitted in support of its motion (D.I. 474) will be denied as moot. An appropriate Order

  follows.




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 GLAXOSMITHKLINE LLC and SMITHKLINE
 BEECHAM (CORK) LIMITED,

                 Plaintiffs,

        v.                                                      C.A. No. 14-878-LPS-CJB

 TEVA PHARMACEUTICALS USA, INC.,

                 Defendant.


                                               ORDER

        At Wilmington, this 28th day of March, 2018:

        For the reasons set forth in the Memorandum Opinion issued this date,

        IT IS HEREBY ORDERED that:

         1.      Teva's motion for judgment as a matter of law, or in the alternative for a new trial

 (D.L 464), is GRANTED IN PART and DENIED IN PART.

        2.       GSK's motion for enhanced damages, attorney fees, and interest (D.L 466) is

 DENIED AS MOOT.

        3.       Teva's motion to strike (D.L 474) is DENIED AS MOOT.

        IT IS FURTHER ORDERED that the parties shall meet and confer and shall submit a

 joint status report, no later than April 2, 2018, advising the Court of any remaining order(s) it

 should enter in this case and how the case should now proceed.




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 GLAXOSMITHKLINE LLC and SMITHKLINE
 BEECHAM (CORK) LIMITED,

                Plaintiffs,

        v.                                                    C.A. No. 14-878-LPS-CJB

 TEVA PHARMACEUTICALS USA, INC.,

                Defendant.


                                      FINAL JUDGMENT

        This action between Plaintiffs GlaxoSmithKline, LLC and SmithK.line Beecham (Cork)

 Limited (collectively, "GSK") and Defendant Teva Pharmaceuticals USA, Inc. ("Teva") came

 before the Court for trial beginning on June 12, 2017, before a duly empaneled and sworn jury.

 The jury rendered a verdict on June 20, 2017. (See D.I. 448) Teva's defenses of equitable

 estoppel, unpatentable subject matter under 35 U.S.C. § 101, indefiniteness of claim 8, and

 improper dependency of claim 8 were reserved to be tried to the Court at a later date. (See D.l.

 452 at 16-17; D.l. 451)

        On August 25, 2017, the parties filed post-trial motions. (D.I. 464; D.l. 466) On March

 28, 2018, the Court granted in part Teva's motion for judgment as a matter oflaw and denied as

 moot GSK's motion for enhanced damages, attorney fees, and interest. (D.I. 489; D.I. 490)

        Therefore, pursuant to Federal Rules of Civil Procedure 50, 54, and 58, FINAL

 JUDGMENT is hereby entered in this matter as follows:

        It is ORDERED AND ADJUDGED that final judgment be and hereby is entered in favor



                                                 1




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 ofTeva and against GSK on GSK's claims that Teva induced infringement of the asserted claims

 of the '000 patent.

        It is ORDERED AND ADJUDGED that final judgment be and hereby is entered in favor

 ofGSK and against Teva on Teva's affirmative defenses that the asserted claims ofthe '000

 patent are invalid as anticipated or obvious under 35 U.S.C. §§ 102 or 103, or for lack ofwritten

 description under 35 U.S.C. § 112.

        It is ORDERED AND ADJUDGED that all remaining claims and affirmative defenses

 are DISMISSED WITHOUT PREJUDICE, and any further proceedings with respect to these

 claims and affirmative defenses will be dependent on all applicable legal principles, including

 any remand order from the Court of Appeals.

        SO ORDERED this 25th day of April, 2018.




                                                 2




                                             Appx30
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           UNITED STATES DEPARTMENT OF COMMERCE
               United States Patent and Trademark Office


                                          June 01, 2016

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U.S. PATENT: R£40,000
ISSUE DATE: January 08, 2008




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                 and Director of the United States Patent and Trademark Office



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                                          W. MONTGO(o/IERYQ1
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                                         Certifying Officer




                                Plaintiffs' Trial Exhibit                 GSK00988381
                                     PTX 1
                                   C.A. No. 14-878-LPS-CJB


                                                                                        PTX 1.0001
                                   Appx31
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                                                                                                              USOORE40000E
(19) United States
cr2) Reissued Patent                                                          (10) Patent Number:                               US RE40,000 E
       Lukas-Laskey et al.                                                    (45) Date of Reissued Patent:                             *Jan. 8, 2008

(54)   METHOD OF TREATMENT FOR                                                         Glaxo Group Ltd. v. Teva Pharma, Inc., 2004 U.S. Dist.
       DECREASING MORTALITY RESULTING                                                  LEXIS 16750, at *56-57 (D. Del. 2004).
       FROM CONGESTIVE HEART FAILURE                                                   Swedberg, Karl et al. , "Prolongation of Survival in Conges-
                                                                                       tive Cardiomyopathy by Beta- Receptor Blockade," Lancet
(75)   Inventors: Mary Ann Lukas-Laskey, Rosemont,                                     1374-1376 (Jun. 30, 1979).
                  PA (US); Robert Ruffolo, Jr., Spring                                 Prichard, B.N.C. and Tomlinson, B., "Choice of Antihyper-
                  City, PA (US); Neil Howard                                           tensive Drug Therapy," Am Heart J; 114 (4): 1030-40 (Oct.
                  Shusterman, Wynnewood, PA (US);                                      1987).
                  Gisbert Sponer, Laudenbach (DE);                                     Das Gupta et al., "Improvement in congestive heart failure
                  Klaus Strein, Hemsbach (DE)                                          following chronic therapy with a new vasodilating
                                                                                       betablocker Carvedilol," Circulation, vol. 80, No. 4, Suppl.
(73)   Assignee: SB Pharmco Puerto Rico Inc., Hato                                     2, II -117 (1989).
                 Rey, PR (US)
                                                                                                                    (Continued)
( *)   Notice:       This patent is subject to a terminal dis-
                                                                                       Primary Examiner-Kevin E. Weddington
                     claimer.
                                                                                       (74) Attorney, Agent, or Firm-Finnegan, Henderson,
                                                                                       Farabow, Garrett & Dunner, L.L.P.
(21)    Appl. No.: 10/721,020
                                                                                       (57)                        ABSTRACT
(22)    Filed:       Nov. 25, 2003
                                                                                       A method of treatment using a compound of Formula I:
             Related U.S. Patent Documents
Reissue of:                                                                                                                                                (!)
(64) Patent No. :     5,760,069


                                                                                                                0~~Yyx-<
      Issued:         Jun.2, 1998
      Appl. No.:      08/483,635
      Filed:          Jun. 7, 1995
(30)         Foreign Application Priority Data                                                                           OR 1              ~

   Feb. 8, 1995      (DE) ............... .. ......................... 19503.995
                                                                                                                 ,-::?
(51)    Int. Cl.                                                                                       N
                                                                                                       H
        A61K 31140                  (2006.01)
        A61K 311585                 (2006.01)
        A61K 31154                  (2006.01)                                          wherein:
        A61K 31141                  (2006.01)                                            R 1 is hydrogen, lower alkanoyl of up to 6 carbon atoms
        A61K 31134                  (2006.01)                                               or aroyl selected from benzoyl and naphthoyl;
                                                                                         R2 is hydrogen, lower alkyl of up to 6 carbon atoms or
(52)    U.S. Cl. .................... 514/411 ; 514/175; 514/223.2;                         arylalkyl selected from benzyl, phenylethyl and phe-
                        514/223.5; 514/381 ; 514/423; 514/471                               nylpropyl;
(58)    Field of Classification Search ................. 514/411 ,                       R3 is hydrogen or lower alkyl of up to 6 carbon atoms;
                                    514/175,223.2, 223.5,423,471
                                                                                         R4 is hydrogen or lower alkyl of up to 6 carbon atoms, or
        See application file for complete search history.
                                                                                            when X is oxygen, R4 together with R 5 can represent
(56)                     References Cited                                                   -CH2-0-;
                                                                                         X is a valency bond, -CH 2, oxygen or sulfur;
                  U.S. PATENT DOCUMENTS                                                  Ar is selected from phenyl, naphthyl, indanyl and tetrahy-
       4,503,067 A         3/1985 Wiedemann eta!.                                           dronapthyl;
       4,888,179 A     * 12/1989 Appelgren eta! .......... 424/480                       R5 and R 6 are individually selected from hydrogen,
       5,308,862 A     * 5/1994 Ohlstein .. ..... ......... .... . 514/411                  fluorine, chlorine, bromine, hydroxyl, lower alkyl of up
       5,312,828 A     * 511994 Finkelstein eta! ... .. ... .. 514/381                      to 6 carbon atoms, a -CONH 2- group, lower alkoxy
       5,760,069 A     * 6/1998 Lukas-Laskey eta! . .... 514/411                            of up to 6 carbon atoms, benzyloxy, lower alkylthio of
       5,902,821 A     * 511999 Lukas-Laskey eta! .. ... 514/411
                                                                                            up to 6 carbon atoms, lower alkysulphinyl of up to 6
             FOREIGN PATENT DOCUMENTS                                                       carbon atoms and lower alkylsulphonyl of up to 6
                                                                                            carbon atoms; or
CA                  1259071              9/1989
DE               696 02 424 T2          1111997                                           R5 and R 6 together represent methylenedioxy;
EP                0 808 162 B1          1111997                                        or a pharmaceutically acceptable salt thereof, alone or in
                                                                                       conjunction with one or more other therapeutic agents, said
                   OTHER PUBLICATIONS                                                  agents being selected from the group consisting of ACE
Bristol Meyers Squib v. Ben Venue Labs.,246 F .3d 1368                                 inhibitors, diuretics, and digoxin for decreasing mortality
(Fed. Cir. 2001).                                                                      resulting from congestive heart failure (CHF) in mammals,
Rapoport v. Dement, 254 F.3d 1053 (Fed. Cir.2001).                                     particularly humans.
Jansen v. Rexall Sundown, Inc.,342 F.3d 1329, 1333- 34
(Fed. Cir. 2003).                                                                                           9 Claims, No Drawings




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                                                                                      Appx32
              Case: 18-1976                       Document: 27                   Page: 95                Filed: 07/16/2018




                                                       US RE40,000 E
                                                                Page 2



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failure secondary to coronary artery disease," American              Abstract 725-1 (Feb. 1993).
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Krukemyer, J., "Use of Beta- Adrenergic Blocking Agents in           needs," Cardiology vol. 82, Suppl 3, pp. 50-58 (1993).
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Giannetti, Exhibit 2: Novopharm, Notice of Allegation and
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Court No. T-84-02, Federal Court, Trial Division (Canada)        Court File No. T- 1871-01 (Canada), containing an index
(Jan. 16, 2002), Exhibit D: Canadian Patent No. 2,212,548,       and: Exhibit A: Exhibits to cross-examination of Dr. Will-
Exhibit E: Canadian Patent No . 1,259,071, Exhibit F: Cana-      iam T. Abraham taken on Jun. 4, 2002. "77'hCardiovascular
dian Patent No. 1,129,416, and Exhibit G: United States          and Renal Drugs Advisory Committee meeting dated May 2,
Patent No. 4,503 ,067.                                           1996," pp. 1- 356.




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Respondent's Record (Pharmascience Inc.) val. II of III filed    Applicants' Record val. 2 of 6 filed in GlaxoSmithKline Inc.,
in GlaxoSmithKline Inc., and Smith/dine Beecham Corpo-           and Smith/dine Beecham Corporation v. The Minister of
ration v. The Minister of Health and Pharmascience Inc.,         Health and Pharmascience Inc. , Court No. T- I87I-00
Court File No. T- I87I-OI (Canada), containing an Index          (Canada), containing an Index and: Exhibit L: Affidavit of
and: Continuation of Exhibit A to Dr. William T. Abraham's       Patricia N. Jansons sworn Jan. 24, 2002 (Canada, Federal
cross-examination (pp. 357-572) Exhibit B: Exhibits to           Court- Trial Division, Court No. I87I-OI), pp. 530-540,
cross-examination of Dr. Nadia S. Giannetti taken on Jun.        further including: Exhibit A: Certified copy of Canadian
2I, 2002. "Study regarding sauna induced myocardial              Letters Patent No. I ,259,07I, pp. 54I-583; Exhibit B:
ischemia in patients with coronary artery disease," pp.          Certified copy of the Abstract of Title for Canadian Letters
573-578. Exhibit C: Exhibits to cross- examination of Dr.        Patent No. I,259,07I , pp . 584-585; Exhibit C: Certified
Mary Ann Lukas taken on Jul. I2, 2002. I) Precise Trial          copy of Canadian Letters Patent No. 2,2I2,548, pp.
Documentation, pp. 579-752 and 2) CPS Coreg Reference,           586- 6I7; Exhibit D: Certified copy of the Abstract of Title
pp. 753- 756.                                                    for Canadian Letters Patent No. 2,2I2,548, pp. 6I8- 6I9 ;
Respondent's Record (Pharmascience Inc.) val. III of III         Exhibit E: Copy of CPS entry for COREG™, pp. 620-625;
filed in GlaxoSmithKline Inc., and Smithkline Beecham            Exhibit F: Copies of the 76 prior art references listed as
Corporation v. The Minister of Health and Pharmascience          paragraphs I to 13 and Appendix A of the Notice of
Inc. , Court File No. T-I87I-OI (Canada), containing an          Allegation (Tabs I-46), pp . 626- I022.
index and: Exhibit D: Memorandum Fact and Law, pp.               Applicants' Record vol. 3 of 6 filed in GlaxoSmithKline Inc.,
755- 802. Appendix A ("Anticipation by Kelly") to Respon-        and Smith/dine Beecham Corporation v. The Minister of
dent's Memorandum Fact and Law, pp. 788- 801.                    Health and Pharmascience Inc., Court No. T- I87I-OO
Applicant's Record val. I of 6 filed in GlaxoSmithKline Inc.     (Canada), containing an Index and: Exhibit L (cont.):
and Smith/dine Beecham Corporation v. The Minister of            Exhibit F: Copies of the 76 prior art references listed at
Health Pharmascience Inc., Court No. T-I87I-OO                   paragraphs I to 13 and Appendix A of the Notice of
(Canada), containing an Index and: Exhibit A: Pharma-            Allegation (Tabs 47- 76), pp. I023- 1186; Exhibit M: Affi-
science Inc . Notice of Allegation dated Aug. 30, 200I, pp.      davit of Dr. Mary Ann Lukas sworn Jan. 30, 2002 (Canada,
 I- 11; Exhibit B: Notice of Application issued Oct. I8, 200I    Federal Court- Trial Division, Court No. I87I-OI), pp.
(Canada, Federal Court- Trial Division, CourtNo . 1871-01),      1187- 1212, further including: Exhibit A: Curriculum vitae,
pp. I2-27; Exhibit C: Pharmascience Inc. Notice of Appear-       pp. I2I4-I22I, Exhibit B: Canadian Letters Patent No.
ance dated Oct. 26, 2001 (Canada, Federal Court-Trial            2,2I2,548, pp. I222- I253; Exhibit C: German Patent Appli-
Division, Court No. I871 - 01), pp. 28- 31 ; Exhibit D: Order    cation No. I9503995.5 dated Feb. 8, I995, pp. I254- I260;
of Prothonotary Lafreniere dated Dec. 13, 2001 (Canada,          Exhibit D: English translation of German Application, pp.
Federal Court- Trial Division, Court No. 1871-01), pp.            I26I- 1267; Exhibit E: U.S. Appl. No. 08/483,635 dated Jun.
32-35; Exhibit E: Order of Prothonotary Lafreniere dated         7, I995, pp. I268-I290; Exhibit F: Notice ofAllegation, pp.
Mar. 7, 2002 (Canada, Federal Court- Trial Division, Court        I29I- 1302; Exhibit G: Loeb publication, I993, pp.
No . 1871-0I), pp. 36- 39; Exhibit F: Order of Prothonotary       1303- 1313;
Lafreniere dated Jun. II, 2002 (Canada, Federal Court- Trial     Exhibit H: DiBianco publication, I989, pp. 13I4- 132I ;
Division, Court No. I87I-01), pp. 40-44; '                       Exhibit I: Packer publication, I99I , pp. 1322-1330; Exhibit
Exhibit G: Confidentiality Order of Prothonotary Lafreniere      J: Feldman publication, I993, pp. 133I-1338; Exhibit K:
dated Aug. 2, 2002 (Canada, Federal Court-Trial Division,        Results of Xamoterol Trial, pp. 1339-1345; Exhibit L:
 Court No. I87I-OI), pp. 45-55; Exhibit H: Affidavit of Dr.      Results of Metoprolol in Dilated Cardiomyopathy (MDC)
 William T. Abraham sworn Jan. 29, 2002 (Canada, Federal         Trial, pp . 1346- 1352; Exhibit M: Results of the CIBIS I
 Court- Trial Division, Court No. 1871-01), pp. 56-96, fur-      Trial, pp. 1353- 1362; Exhibit N: Results of the U.S.
ther including: Exhibit A: Curriculum vitae, pp. 97- 142;        Carvedilol Trials, pp. 1363- 1370; Exhibit 0: Pfeffer edito-
 Exhibit B: Notice of Allegation, pp. 143-I54; Exhibit C:        rial on U.S. Carvedilol Trials, pp. I37I-1373; Exhibit P:
 Canadian Letters Patent No. 2,212,548, pp. 155- I86;            Results of COPERNICUS Trial, pp. 1374-1382; Exhibit Q:
 Exhibit D: Glossary of medical terms, pp. 187-193; Exhibit      Further commentary om prior art, pp. 1383- 1393.
 E: Further commentary on prior art, pp. 194- 209; Exhibit I:    Applicants' Record val. 4 of 6 filed in GlaxoSmithkline Inc. ,
 Transcript of cross-examination of Dr. Abraham taken on         and Smith/dine Beecham Corporation v. The Minister of
 Jun. 4, 2002 (Canada, Federal Court-Trial Division, Court       Health and Pharmascience Inc., Court No. T- 87I- OO
 No. 1871-01), pp. 210-350, further including Exhibit 1           (Canada), containing an Index and: Exhibit N: Transcript of
 (Vogel et al., 24 Am. J. Cardiology 198-207 (I969)), Exhibit    cross-examination of Dr. Lukas taken on Jul. I2, 2002
 2 (Bristow eta!., 94 Circulation 2807-2816 (1996)), Exhibit      (Canada, Federal Court- Trial Division, Court No.
 3 (Gilbert eta!., 94 Circulation 2817-2825 (I996)), and         T-187I-OI), pp. 1394-I795, further including Exhibit I
 Exhibit 4 (Shakar et a!., 31 JACC 1336-1340 (I998));             (SmithK!ine Beecham Pharm., SK&F I 055I7/Carvedilol,
 Exhibit J: Affidavit of Dr. Nadia S. Giannetti sworn Jan. 30,    protocol 220 (Oct. 20, I993), Exhibit 2 (SmithK!ine Bee-
 2002 (Canada, Federal Court- Trial Division, Court No.           cham Pharm., SK&F I 055I7 /Carvedilol, protocol 221 (Oct.
 1871-01), pp. 35I- 371, further including: Exhibit 1: Cur-       20, I993)), Exhibit 3 (SmithKline Beecham Pharm., SK&F
 riculum vitae, pp. 372-384; Exhibit 2: Notice of Allegation,     I055I7/Carvedilol, protocol 239 (Jun. 9, I994)), Exhibit 4
 pp. 385-396; Exhibit 3: Canadian Letters Patent No. 2,212,       (SmithK!ine Beecham Pharm., SK&F 1055I7/Carvedilol,
 548, pp. 397-428; Exhibit 4: List of prior art referenced in     protocol 240 (Jan. 25, I994)); Exhibit 0: Affidavit of Dr.
 Notice of Allegation, pp. 429-438; Exhibit K: Transcript of      John Parker sworn Jan. 3I , 2002 (Canada, Federal Court-
 cross-examination of Dr. Giannetti taken on Jun. 2I, 2002        Trial Division, Court No. T- I871-01), pp. I796-1828,
 (Canada, Federal Court-Trial Division, Court No. I87I-01),       further including: Exhibit A: Curriculum vitae, pp.
 pp. 439- 529.                                                    I829- I85I;




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Exhibit B: Notice of Allegation, pp. 1852- 1863; Exhibit C:      Affidavit of Edwin J. Gale, Mar. 8, 2002, filed in Hoff-
Canadian Letters Patent No. 2,212,548, pp. 1864-1896;            mann- La Roche Limited, and Smithkline Beecham Corpo-
Exhibit D: Glossary of medical terms, pp. 1897-1903;             ration v. The Minister of Health, and Novopharm Limited,
Exhibit E: Results of U.S. Carvedilol Trials, pp. 1904-1910;     Court No . T-84-02, further including: Exhibit A: Copy of
                                                                 Canadian Letters Patent No. 2,212,548; Exhibit B: Notice of
Exhibit F: Results ofMetoprolol in Dilated Cardiomyopathy
                                                                 Allegation dated Nov. 28, 2001 from Novapharm Limited to
(MDS) Trials, pp. 1911-1917; Exhibit G: Results ofCIBIS          Hoffmann-La Roche; Exhibit C: Chart of Edwin J. Gale
I Trial, pp . 1918-1927; Exhibit H: Pfeffer editorial on U.S .   illustrating various claim types used to cover pharmaceuti-
Carvedilol Trials, pp. 1928- 1930; Exhibit I: Results of         cals including first and second medical uses and pharma-
COPERNICUS Trial, pp. 1931- 1939; Exhibit J: Results of          ceuticals: Exhibit D: Practice Notice regarding Chemical
BEST Trial, pp. 1940-1949; Exhibit K: Further connentary         Patent Practice from the Canadian Patent Office Record of
in prior art, pp. 1950-1959; Exhibit P: Transcript of cros-      May 9, 1989; Exhibit E: Copy of section on Method of Use
s-examination of Dr. Parker taken on Jul. 3, 2002, pp.           and Use claims from the Canadian Manual of Patent Office
1960- 2082.                                                      Practice dated Mar. 1998; Exhibit F: Copy of Canadian
                                                                 Patent No. 2,212,548 claims grouped by type.
Applicants' Record vol. 5 of 6 filed in GlaxoSmithKline Inc.,
                                                                 Applicants' Record filed in GlaxoSmithKline Inc. and
and Smith/dine Beecham Corporation v. The Minister of
                                                                 Smithkline Beecham Corporation v. Apotex Inc. and The
Health and Pharmascience Inc., Court No. T- 1871-00,             Minister of Health, Court File No . T- 2105-02 (Canadian
containing an Index and: Exhibit Q: Affidavit of Dr. Bertram     Federal Court- Trial Division), containing an Index and:
Pitt sworn Apr. 1, 2002 (Canada, Federal Court- Trial Divi-      Exhibit A: Apotex Inc. Notice of Allegation dated Nov. 1,
sion, Court No. T- 1871-01), pp. 2083-2121, further includ-      2003, pp . 1-2; Exhibit B: Notice of Application dated Dec.
ing Exhibit A: Curriculum vitae,pp. 2122- 2193; Exhibit B:       16, 2002, pp. 3-13; Exhibit C: Apotex Inc. Notice of
Comparison document prepared by Hitchman & Sprigings,            Appearance dated Dec. 20, 2002, pp. 14- 16; Exhibit D:
pp. 2194-2209; Exhibit R: Transcript of cross-examination        Minister of Health Notice of Appearance dated Dec. 31,
of Dr. Pitt taken on Jun. 24, 2002 (Canada, Federal Court-       2002, pp. 17- 18; Exhibit E: Affidavit of Lidia 0. Derewlany
Trial Division, Court No . T- 1871-01), pp. 2210-2284;           sworn on Feb. 14, 2003, pp. 19- 23, further including:
                                                                 Exhibit 1: Canadian Patent No. 2,212,548, pp. 24-54;
Exhibit S: Affidavit of Dr. Robert Rangno sworn Apr. 1,
                                                                 Exhibit 2: Abstract of title for Canadian Patent No. 2,212,
2002 (Canada, Federal Court- Trial Division, Court No.           548, pp. 55- 56; Exhibit 3: German Patent Application No.
T-1871-01), pp. 2285-2324, further including Exhibit 1:          19503995.5, pp. 57-63; Exhibit 4: English translation of
Curriculum vitae, pp. 2325-2342; Exhibits 2-4 not                German Patent Application No. 19503995.5, pp. 64-70;
included: Documents struck by Canadian Court order dated         Exhibit 5: U.S. Appl. No. 08/483,635, pp. 71-92;
Jun. 11, 2002
                                                                 Exhibit 6: Notice of Compliance dated Feb. 17, 1995 and
Exhibit T: Transcript of cross-examination- of Dr. Rangno        approved product monograph for Kredex tablets, pp.
taken on Jun. 26, 2002 (Canada, Federal Court-Trial Divi-        93-115; Exhibit 7: Cover page of the S/NDS dated Dec. 13,
sion, Court No. T- 1871-01), pp. 2346-2411; Exhibit U:           1995 for Coreg™ tablets (redacted), pp. 116-118; Exhibit 8:
Affidavit of Patrick Taylor sworn Apr. 2, 2002 (Canada,          Correspondence from Viera Pastorek, Health Canada, dated
                                                                 Jan. 10, 1996, pp. 119-121; Exhibit 9: Notice of Compliance
Federal Court- Trial Division, Court No. T-1871-01), pp.
                                                                 dated Sep. 30, 1996, pp. 122- 160; Exhibit 10: Health
2412- 2414, further including: Exhibit A: Product Mono-
                                                                 Canada Patent Lists filed by Roffman-La Roche for
graph for COREG™ (carvedilol), pp. 2415-2419; Exhibit            Coreg™ tablets, pp . 161-165; Exhibit 11: Cover page for
B: Further Detailed Information of the Prior Art References      the Sep. 13, 2001 S/NDS filed by GlaxoSmithKline Inc., pp.
found in Appendix "A" to the Pharmascience notice of             166-167; Exhibit 12: Correspondence from A. Minkiewic-
Allegation, pp. 2420-2463; Exhibits C-F not included:            z-Janda dated Oct. 29, 2001, pp. 168-171; Exhibit 13:
Documents struck by Canadian Court order dated Jun. 11,          Health Canada Patent Lists filed by GlaxoSmithKline Inc.,
2002; Exhibit V: Affidavit of Dr. Lawrence Zisman sworn          pp. 172- 176; Exhibit 14: Notice of Compliance dated Apr.
Apr. 1, 2002 (Canada, Federal Court-Trial Division, Court        10, 2002 and approved product monograph for Coreg™
No. T-1871-01), pp. 2469-2490, further including Exhibit         tablets, pp . 177-227; Exhibit F: Transcript of cross-exami-
A: Curriculum vitae, pp. 2491-2504; Exhibit B: Compari-          nation of Lidia 0 . Derewlany taken Apr. 24, 2003, pp.
                                                                 229- 269;
son document prepared by Hitchman & Sprigings, pp.
2505-2521;                                                       Exhibit G: Correspondence dated May 23, 2003 for Ogilvy
                                                                 Renault to Goodmans LLP, pp. 270- 271; Exhibit H: Affi-
Exhibit W: Transcript of cross-examination of Dr. Zisman         davit of Dianne Kathleen Grise sworn on Feb. 14, 2003, pp.
taken on Jul. 10, 2002, pp. 2522-2592.                           272-275; Exhibit I: Transcript of cross-examination of
                                                                 Dianne Kathleen Grise taken May 6, 2003, pp. 276-312;
Applicants' Record vol. 6 of 6 filed in GlaxoSmithKline Inc.,
                                                                 Exhibit J: Affidavit of Bernard Sherman sworn on Mar. 7,
and Smithkline Beecham Corporation v. The Minister of
                                                                 2003, pp. 313-315; Exhibit K: Written Representations,
Health and Pharmascience Inc., Court No. T-1871-00,              memorandum of Fact and Law, of GlaxoSmithK.line and
further including: Exhibit X: Written Representations,           SmithKline Beecham Corporation dated Jun. 5, 2003, pp.
Applicants' Memorandum of Fact and Law, pp. 2593-2623 .          316-346.




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Applicants' Record, vol. 1 of7, filed in Hoffmann- La Roche      Exhibit J: Feldman et al., 329 N.E.J. Med. 149- 155 (1993),
Limited and Smithkline Beecham Corporation v. The Min-           1191- 1198; Exhibit K: Results of Xamoterol Trial, 336
                                                                 Lancet 1-6 (1990), pp. 1199- 1205; Exhibit L: Results of the
ister ofHealth and Novopharm Limited, Court No. T-84-02          Metoprolol in Dilated Cardiomayopathy (MDS) Trial, 342
(Canadian Federal Court- Trial Division), containing an          Lancet 1441-46 (1993), pp . 1206-1212; Exhibit M: Results
Index and: Exhibit A: Novopharm Limited Notice of Alle-          of the CIBIS I Trial, 90 Circulation 1765- 1773 (1994), pp.
                                                                 1213- 1222; Exhibit N: Results of the U.S. Carvedilol Trials,
gation dated Nov. 28, 2001, pp. 1-20; Exhibit B: Notice of
                                                                 334 N.E.J. Med. 1349- 1355, pp. 1223-1230; Exhibit 0 :
Application issued Jan. 16, 2002, pp. 21- 36; Exhibit C:         Pfeffer editorial on U.S . Carvedilol Trials 334 N.E.J. Med.
Novopharm Limited Notice of Appearance dated Jan. 18,            1396- 1397, pp. 1231- 1233; Exhibit P: Results of COPER-
2002, pp. 37-39; Exhibit D: Minister of Health Notice of         NICUS Trial, 344 N.E.J. Med. 1651-1658, pp. 1234-1242;
                                                                 Exhibit Q: Further commentary on prior art, pp. 1243- 1256;
Appearance dated Jan. 24, 2002, pp. 40-41; Exhibit E:            Exhibit L: Transcript of cross-examination of Dr. Lukas
Order of Prothonotary Lafreniere dated Feb. 11, 2002, pp.        taken on Jan. 28, 2003, pp. 1257- 1333; Exhibit M: Affidavit
42-44; Exhibit F: Confidentiality Order of Prothonotary          of Dr. William T. Abraham sworn Mar. 8, 2002, pp.
                                                                 1334- 1382, further including: Exhibt A: Curriculum vitae,
Lafreniere dated Feb. 11 , 2002, pp. 45- 52; Exhibit G:          pp. 1383-1428; Exhibit B: Notice of Allegation (pp . 3- 19),
Correspondence dated Feb. 18, 2002 from Heenan Blaikie,          pp. 1429-1449;
counsel for the Respondent, Novopharm Limited to Ogilvy          Exhibit C: Canadian Letters Patent No. 2,212,548, pp.
Renault, counsel for the Applicants, pp. 53-55;                  1450-1481; Exhibit D: Glossary of medical terms, pp.
                                                                 1482-1488, Exhibit E: Further commentary on prior art, pp.
Exhibit H: Order of Prothonotary Lafreniere dated Nov. 4,        1489-1506; Exhibit N: Transcript of cross- examination of
2002, pp. 56- 57; Exhibit I: Correspondence dated Jan. 27,       Dr. Abraham taken on Nov. 26, 2002, pp. 1507-1628,
                                                                 further including: Exhibit 1: Abraham et al., 39 Advances in
2003 from Heenan Blaikie, counsel for the Respondent,
                                                                 Internal Medicine, 22-47 (1994); Exhibit 2: Results of
Novopharm Limited to Ogilvy Renault, counsel for the             CONSENSUS Trial, 316 N.E.J. Med. 1429- 1435 (1987);
Applicants, pp. 53-57a; Exhibit J: Affidavit of Patricia N.      Exhibit 3: Bristow et al., 94 Circulation, 2807- 16 (1996);
                                                                 Exhibit 4: Shakar et al., 31 JACC 1336-1340 (1998),
Jansons sworn Mar. 4, 2002, pp. 58-72, further including:
                                                                 Exhibit 5: Gilbert et al., 94 Circulation 2817- 25 (1996);
Exhibit A: Certified copy of Canadian Letters Patent No.         Exhibit 6: Abraham et al., 22 Hepatology, 737- 743 (1995).
1,259,071, pp. 73-115; Exhibit B: Certified copy of the
                                                                 Applicants' Record, vol. 4 of7, filed in Hoffmann- La Roche
Abstract of Title for Canadian Letters Patent No. 1,259,071 ,    Limited, and Smithkline Beecham Corporation v. The Min-
pp. 116-117; Exhibit C: Certified copy of Canadian Letters       ister of Health, and Novopharm Limited, Court No.
Patent No. 2,212,548, pp. 118-146; Exhibit D: Certified          T-84-02, containing an Index and: Exhibit 0: Affidavit of
                                                                 Dr. Nadia S. Giannetti sworn Mar. 8, 2002, pp. 1629-1656
copy of the Abstract of Title for Canadian Lt:tters Patent No.   further includingg Exhibit 1: Curriculum vitae, pp.
2,212,548, pp. 147-148; Exhibit E: Copy of CPS entry for         1657-1669; Exhibit 2: Novopharm Notice of Allegation
COREG™, pp. 149- 154; Exhibit F: Copies of the 104 prior         (Nov. 28, 2001 ), pp. 1670-1690; Exhibit 3: Canadian Letters
                                                                 Patent No. 2,212,548, pp. 1691-1723; Exhibit 4: List of
art references listed at page 5 & 6 and Appendix A & B of
                                                                 prior art referenced in Notice of Allegation, pp. 1724-1737;
the Novopharm Notice of Allegation, pp. 155- 534.                Exhibit 5: Correspondence from Heenan Blaikie to Ogilvy
                                                                 Renault dated Feb. 18, 2002, pp. 1739-1742; Exhibit P:
Applicants' Record, vol. 3 of7, filed in Hoffmann-La Roche       Transcript of cross-examination of Dr. Giannetti taken on
Limited, and Smithkline Beecham Corporation v. The Min-          Dec. 20, 2002, pp . 1743- 1842, further including Exhibit 1:
ister ofHealth and Novopharm Limited, Court No. T-84-02,         Johnstone et al., 10 Can. J. Cardiol613-631 (1994); Exhibit
                                                                 2: Giannetti et al., 107 Am. J. Med., 228- 233 (1999);
further including: Exhibit K: Affidavit of Dr. Mary Ann
                                                                 Exhibit 3: Cecere et al., Can J Cardiol, vol. 17, Supp C,
Lukas sworn Mar. 7, 2002, pp. 1026-1059, further includ-
                                                                 Abstract 272 (Sep. 2001); Exhibit 4: Cecere et al., Can J
ing: Exhibit A: Curriculum vitae, pp. 1060-1067; Exhibit B:      Cardiol, vol. 17, Supp C, Abstract 376 (Sep. 2001); Exhibit
Canadian Letters Patent No. 2,212,548, pp. 1068- 1105;           5: Cantarovich et al., J. Heart Lung Trans, vol. 20(2),
Exhibit C: German Patent Application No. 19503995.5              Abstract 246 (2001); Exhibit 6: Cantarovich et al., J. Heart
                                                                 Lung Trans, vol. 20(2), Abstract 166 (2001); Exhibit Q:
dated Feb. 8, 1995, pp. 1106- 1112; Exhibit D: English           Affidavit of Dr. Mark Lautens sworn Mar. 8, 2002, pp.
translation of German Application, pp. 1113- 1119; Exhibit       1843-1847, further including Exhibit A: Curriculum vitae,
E: U .S. Appl. No. 08/483,635 dated Jun. 7, 1995, pp.            pp. 1848- 1877; Exhibit B: Novopharm Notice of Allegation
                                                                 (Nov. 28, 2001), pp. 1878-1898; Exhibit C: Canadian Let-
1120-1141; Exhibit F: Novopharm Notice of Allegation
                                                                 ters Patent No. 1,259,071, pp. 1899-1941; Exhibit R: Affi-
(Nov. 28, 2001), pp. 1142- 1162; Exhibit G: Loeb et al., 87      davit of Edwin Gale sworn Mar. 8, 2002, pp. 1942-1951,
Circulation VI- 78 to VI- 87 (1993), pp. 1163- 1173; Exhibit     further including: Exhibit A: Copy of Canadian Letters
                                                                 Patent No. 2,212,548, pp. 1952-1983; Exhibit B: Novop-
H: DiBianco et al., 320 N.E.J. Med. 677- 683 (1989), pp.
                                                                 harm Notice of Allegation (Nov. 28, 2001), pp. 1984-2004;
1174-1181; Exhibit I: Packer et al., 325 N.E.J. Med.             Exhibit C: Chart illustrating various claim types used to
1468-1475 (1991), pp. 1182-1190;                                 cover pharmaceuticals, pp. 2005-2006;




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Exhibit D: Practice Notice regarding Chemical Patent Prac-       Exhibit 1: Article entitled "Different Intrinsic Activities of
tice taken from the Canadian Patent Office Record of May         Bucidolol, Carvedilol and Metoprolol in Human Failing
9, 1989, pp. 2007-2008; Exhibit E: Section 11.10.02 entitled     Myocardium," British Journal of Pharmacology (2000), 130,
"Method of Use and Use Claims" from the Canadian                 1131- 1139, pp. 3029- 3037; Exhibit 2: Article entitled "Pro-
Manual of Patent Office Practice, pp. 2009- 2013; Exhibit F:     spective Crossover Comparison of Carvedilol and Meto-
Canadian Letters Patent No. 2,212,548 claims grouped by          prolol in Patients with Chronic Heart Failure," American
type, pp. 2014-2015 .                                            College of Cardiology, 38(4), 934-46 (2001), pp .
Applicants' Record, vol. 5 of7 , filed in Hoffmann- La Roche     3038- 3045; Exhibit 3: "~-Blocker Treatment of Chronic
Limited, and Smithkline Beecham Corporation v. The Min-          Heart Failure with Special Regard to Carvedilol" from book
ister of Health, and Novopharm Limited, Court No.                entitled "Heart Rate is a Determinant of Cardiac Function-
T- 84-02, containing an Index and: ExhibitS: Affidavit of        Basic Mechanism and Clinical Significance," G. Hasenfuss
Dr. John Parker sworn Mar. 11, 2002, pp. 2016-2054,              et al. ed. (Steinkopff Verlung Darmstadt 2000) pp.
further including: Exhibit A: Curriculum vitae, pp.              3046- 3067. Exhibit Z: Affidavit of Dr. Robert Rangno
2055-2077; Exhibit B: Notice of Allegation, pp.                  sworn Aug. 20, 2002, pp. 3068- 3094, further including
2078-2098; Exhibit C: Canadian Letters Patent No. 2,212,         Exhibit A: Curriculum vitae, pp. 3095-3102. Exhibit AA:
548, pp. 2099- 2130; Exhibit D: Glossary of medical terms,       Transcript of cross-examination of Dr. Rangno taken on
pp. 2131-2137; Exhibit E: Parker et al., 334 N.E.J. Med.         Nov. 15, 2002, pp. 3103- 3152.
1349-1355 (1996), pp. 2138- 2145; Exhibit F: Results of the      Affidavit of Dr. Mark Lautens filed in GlaxoSmithKline Inc. ,
Metoprolol in Dilated Cardiomyopathy (MDC) Trial 342             and Smithkline Beecham Corporation v. The Minister of
Lancet 1441- 1446 (1993), pp. 2146-2152; Exhibit G:              Health, and Apotex Inc. , Court No. T- 149-02, further
Results ofCIBIS I Trial90 Circulation, 1765- 1773 (1994),        including: Exhibit A: Curriculum vitae; Exhibit B: Dec. 12,
pp. 2153- 2162; Exhibit H: Pfeffer editorial on U.S.             2001 Notice of Allegation from Apotex Inc. to Srnithkline
Carvedilol Trials, 334 N.E.J. Med. 1396-1397 (1996), pp.         Beecham Pharma Inc.; Exhibit C: Canadian Letters Patent
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Exhibit I: Results of COPERNICUS Trial, 344 N.E.J. Med.          Notice of Application filed in GlaxoSmithKline Inc. , and
 1651- 1658 (2001), pp. 2166- 2174 ; Exhibit J: Results of       Smithkline Beecham Corporation v. The Minister ofHealth,
BEST Trial, 334 N.E.J. Med. 1659-1667 (2001), pp.                and Apotex Inc., Court No. T- 149-02.
2175- 2184; Exhibit K: Further co=entary on prior art, pp.       Record of the Respondent, Apotex Inc., filed in GlaxoSmith-
2185- 2196; Exhibit T: Transcript of cross-examination of        Kline Inc. and Smithkline Beecham Corporation v. The
Dr. Parker taken on December 18, 2002, pp. 2197- 2364,           Minister of Health and Apotex Inc., Court File No.
further including Exhibit 1: Johnstone et al., 10 Can J.         T- 149-02, further including: Exhibit 1: Memorandum of
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J. Med. 4A-61S--4A70S (1996); Exhibit 4: Al-Hesayen et           and Smithkline Beecham Corporation v. The Minister of
 al., 39 JACC 1269- 1274 (2002); Exhibit 5: Azevedo et al.,      Health and Pharmascience Inc., Court No. T- 1871-01.
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 548, pp. 2424- 2455; Exhibit E: Canadian Letters Patent No.     J. of Cardiovascular Pharm; DasGupta et al., 1990 vol. 19,
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                                                                 Appx40
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J. of Cardiovascular Pharm; Senior, et al. "Effects of           peutic Efficacy", 1993, vol. 45, No. 2, pp. 232-258.*
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                                                                                                                                PTX 1.0011
                                                                 Appx41
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                             1                                                                  2
         METHOD OF TREATMENT FOR                                  compounds of Formula I, alone or in conjunction with one
      DECREASING MORTALITY RESULTING                              or more other therapeutic agents, said agents being selected
      FROM CONGESTIVE HEART FAILURE                               from the group consisting of ACE inhibitors, diuretics, and
                                                                  digoxin, as therapeutics for decreasing mortality resulting
     Matter enclosed in heavy brackets [ ] appears in the 5 from congestive heart failure in mammals, particularly
original patent but forms no part of this reissue specifi-        humans. In particular, the present invention preferably pro-
cation; matter printed in italics indicates the additions         vides a method of treatment, alone or in conjunction with
made by reissue.                                                  one or more other therapeutic agents, said agents being
                                                                  selected from the group consisting of ACE inhibitors,
                FIELD OF THE INVENTION                         10
                                                                  diuretics, and digoxin, for the compound of Formula I
   The present invention relates to a new method of treat-        wherein R 1 is -H, R 2 is - H, R3 is -H, R4 is - H, X is
ment using compounds which are dual non-selective                 0, Ar is phenyl, R 5 is ortho -OCH3 , and R 6 is - H, said
~-adrenoceptor and a 1 -adrenoceptor antagonists, in particu-     compound being better known as carvedilol, which is (1-
lar the carbazolyl-(4)-oxypropanolamine compounds ofF or- 15 (carbazol-4-yloxy-3-[[2-(o-methoxyphenoxy)ethyl]amino ]-
mula I, preferably carvedilol, for decreasing the mortality of    2-propanol), or a pharmaceutically acceptable salt thereof.
patients suffering from congestive heart failure (CHF). The
invention also relates to a method of treatment using com-
pounds which are dual non-selective ~-adrenoceptor and                       DETAILED DESCRIPTION OF THE
a 1 -adrenoceptor antagonists, in particular the carbazolyl- 20                           INVENTION
(4)-oxypropanolamine compounds of Formula I, preferably
carvedilol, in conjunction with one or more other therapeutic
agents, said agents being selected from the group consisting         U .S. Pat. No. 4,503,067 discloses carbazolyl-(4)-
of angiotensin converting enzyme (ACE) inhibitors,                oxypropanolamine compounds of Formula I:
diuretics, and digoxin, for decreasing the mortality of 25
patients suffering from CHF.                                                                                                (I)

         BACKGROUND OF THE INVENTION                                                                       R3              R,;

   Congestive heart failure occurs as a result of impaired
pumping capability of the heart and is associated with 30
                                                                                       0~~,Jyx-A<.,
abnormal retention of water and sodium. Traditionally, treat-                                   OR1             ~
ment of chronic mild failure has included limitation of
physical activity, restriction of salt intake, and the use of a
diuretic. If these measures are not sufficient, digoxin, which                           #
is an agent that increases the force of mycardial contraction, 35                ii
is typically added to the treatment regiment. Subsequently,
angiotensin converting enzyme inhibitors, which are com-
pounds that prevent the conversion of angiotensin I into the
                                                                   wherein:
pressor-active angiotensin II, are prescribed for chronic
treatment of congestive heart failure, in conjunction with a 40
                                                                     R 1 is hydrogen, lower alkanoyl of up to 6 carbon atoms
diuretic, digoxin, or both.
                                                                        or aroyl selected from benzoyl and naphthoyl;
   Congestive heart failure is a condition that is associated
with activation of both the renin-angiotenin system (RAS)            R 2 is hydrogen, lower alkyl of up to 6 carbon atoms or
and the sympathetic nervous system (SNS). Modulation of                 arylalkyl selected from benzyl, phenylethyl and phe-
the RAS by angiotensin converting enzyme inhibitors has 45              nylpropyl;
been shown to improve the symptoms associated with CHF.              R3 is hydrogen or lower alkyl of up to 6 carbon atoms;
Sharpe, D. N., Murphy, J., Coxon, R. & Hannan S. F. (1984)
                                                                     R4 is hydrogen or lower alkyl of up to 6 carbon atoms, or
Circulation, 70, 271-278. However, ACE inhibitors appear
to have little effect on the enhanced SNS in CHF. Cohn, J.              when X is oxygen, R4 together with R5 can represent
N., Johnson, G. & Ziesche, S., (1991) N. Engl. J. Med., 325, 50         -CHz-0- ;
293- 302 and Francis, G. S., Rector, T. S. & Cohn, J. N.             X is a valency bond, -CH 2 , oxygen or sulfur;
(1988) Am. Heart J., 116, 1464- 1468. Therefore, there is a          Ar is selected from phenyl, naphthyl, indanyl and tetrahy-
need for an agent that would be effective in blocking the               dronaphthyl;
activation of the SNS in CHF patients.
                                                                55   R5 and R 6 are individually selected from hydrogen,
   Also, congestive heart failure is a well-known cardiac
disorder which results in an annual mortality in excess of 50           fluorine, chlorine, bromine, hydroxyl, lower alkyl of up
percent. Applefeld, M. M., (1986) Am. J. Med., 80, Suppl.               to 6 carbon atoms, a -CONH 2- group, lower alkoxy
28, 73-77. Therefore, therapeutic agents that would                     of up to 6 carbon atoms, benzloxy, lower alkylthio of up
decrease the mortality resulting from CHF in patients suf-              to 6 carbon atoms, lower alkysulphinyl of up to 6
fering therefrom are highly desirable.
                                                                60      carbon atoms and lower alkylsulphonyl of up to 6
                                                                        carbon atoms; or
              SUMMARY OF THE INVENTION                               R5 and R 6 together represent methylenedioxy;
   The present invention provides a new method of treatment and pharmaceutically acceptable salts thereof.
using pharmaceutical compounds which are dual non- 65
selective ~-adrenoceptor and a 1 -adrenoceptor antagonists    This patent further discloses a compound of Formula I,
and, in particular, the carbazolyl-(4)-oxypropanolamine     better known as carvedilol, which is (1-(carbazol-4-yloxy-




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                                                                                                                                   PTX 1.0012
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                                                       US RE40,000 E
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3-[[2-(o-methoxyphenoxy)ethyl]amino ]-2-propanol), hav-               metoprolol (Waagstein, et al. , (1 993) Lancet, 342,
ing the structure shown in Formula II:                                1441-1446) and bisoprolol (CIBIS investigators and
                                                                      committees, (1994) Circulation, 90, 1765- 1773) in the treat-
                                                              (II)    ment of CHF showed no difference in mortality between
                                                                      drug-treated patients and placebo-treated patients.
                                                                          According to the method of treatment of the present
                                                                      invention, the desirable therapeutic effect of the compounds
                                                                      of Formula I, particularly carvedilol, may be augmented by
                                                                      using any one of said compounds, or any pharmaceutically
                                                                   10 acceptable salt of said compounds. In conjunction with ACE
                                                                      inhibitors, diuretics, and digoxin, which are effective thera-
                                                                      peutic agents for the treatment of CHF. In particular, the
                                                                      preferred ACE inhibitors of the present invention are
                                                                      selected from the group consisting of captopril, lisinopril,
   Formula I compounds, of which carvedilol is exemplary, 15 and enalapril, or any pharmaceutically acceptable salts
are novel multiple action drugs useful in the treatment of            thereof and the preferred diuretics of the present invention
mild to moderate hypertension. Carvedilol is known to be              are hydrochlorothiazide or furosemide, or any pharmaceu-
both a competitive non-selective ~-adrenoceptor antagonist            tically acceptable salts thereof. The desirable therapeutic
and a vasodilator, and is also a calcium channel antagonist           benefits of the compounds of Formula I, particularly
at higher concentrations. The vasodilatory actions of 20 carvedilol, are additive with those of such ACE inhibitors, or
carvedilol result primarily from a 1 -adrenoceptor blockade,          diuretics, or digoxin when administered in combination
whereas the ~-adrenoceptor blocking activity of the drug              therewith. Captopril is co=ercially available from E. R.
prevents reflex tachycardia when used in the treatment of             Squibb & Sons, Inc. Lisinopril, enalapril and hydrochlo-
hypertension. These multiple actions of carvedilol are                rothiaxide are co=ercially available from Merck & Co.
responsible for the antihypertensive efficacy of the drug in 25 Furosemide is co=ercially available from Hoechst-
animals, particularly in humans. See Willette, R. N.,                 Roussel Pharmaceuticals, Inc. Digoxin is co=ercially
Sauermelch, C. F. & Ruffolo, R. R., Jr. (1990) Eur. J.                available from Burroughs Wellcome Co.
Pharmacal., 176,237- 240; Nichols, A. J., Gellai, M. &                    Compounds of Formula I may be conveniently prepared
Ruffolo, R. R. , Jr. (1991) Fundam. Clin. Pharmacal., 5,              as described in U.S. Pat. No. 4,503,067. Carvedilol is
25- 38; Ruffolo, R. R. , Jr., Gellai, M., Hieble, J.P., Willette, 30 co=ercially available from SmithK.line Beecham Corpo-
R.N. & Nichols, A. J. (1990) Eur. J. Clin. Pharmacal., 38,            ration and Boehringer Mannheim GmbH (Germany).
S82-S88 ; Ruffolo, R. R., Jr. , Boyle, D. A., Venuti, R. P. &             Pharmaceutical compositions of the compounds of For-
Lukas, M.A. (1991) Drugs ofToday, 27, 465-492; and Yue,               mula I, including carvedilol, alone or in combination with
T.-L. Cheng, H., Lysko, P. G., Mckenna, P. J., Feuerstein, R.,        ACE inhibitors, or diuretics, or digoxin may be administered
Gu. J. , Lysko, K. A. , Davis, L. L. & Feuerstein, G. (1992) J. 35 to patients according to the present invention in any medi-
Pharmacal. Exp. Ther., 263,92-98.                                     cally acceptable manner, preferably orally. For parenteral
   The antihypertensive action of carvedilol is mediated              administration, the pharmaceutical composition will be in
primarily by decreasing total peripheral vascular resistance          the form of a sterile injectable liquid stored in a suitable
without causing the concomitant reflex changes in heart rate          container such as an ampoule, or in the form of an aqueous
co=only associated with other antihypertensive agents. 40 or nonaqueous liquid suspension. The nature and composi-
Willette, R. N., et al. supra; Nichols, A. J., et al. supra;          tion of the pharmaceutical carrier, diluent or excipient will,
Ruffolo, R. R., Jr., Gellai, M., Hieble, J.P., Willette, R.N.         of course, depend on the intended route of administration,
& Nichols, A. J. (1990) Eur. J. Clin. Pharmacal., 38,                 for example whether by intravenous or intramuscular injec-
S82-S88., Carvedilol also markedly reduces infarct size in            tion
rat, canine and porcine models of acute myocardial infarc- 45             Pharmaceutical compositions of the compounds of For-
tion. Ruffolo, R. R., Jr. , et al., Drugs of Today, supra,            mula I for use according to the present invention may be
possibly as a consequence of its antioxidant action in                formulated as solutions or lyophilized powders for
attenuating oxygen free radical-initiated lipid peroxidation,         parenteral administration. Powders may be reconstituted by
Yue, T.-L., et al. supra.                                             addition of a suitable diluent or other pharmaceutically
   Recently, it has been discovered in clinical studies that 50 acceptable carrier prior to use. The liquid formulation is
pharmaceutical compounds which are dual non-selective                 generally a buffered, isotonic, aqueous solution. Examples
~-adrenoceptor and a 1-adrenoceptor antagonists, in particu-          of suitable diluents are normal isotonic saline solution,
lar the compounds of Formula I, preferably carvedilol, alone          standard 5% dextrose in water or buffered sodium or a=o-
or in conjunction with conventional agents, said agents               nium acetate solution. Such formulation is especially suit-
being ACE inhibitors, diuretics, and digoxin, are effective 55 able for parenteral administration, but may also be used for
therapeutic agents for treating CHF. The use of agents, such          oral administration or contained in a metered dose inhaler or
as carvedilol in treating CHF is surprising, since, in general,       nebulizer for insufflation. It may be desirable to add excipi-
~-blockers are contraindicated in patients suffering from             ents such as ethanol, polyvinyl-pyrrolidone, gelatin,
heart failure, because ~-blockers are known to have unde-             hydroxy cellulose, acacia, polyethylene glycol, mannitol,
sirable cardiodepressive effects. The most surprising obser- 60 sodium chloride or sodium citrate.
vation from the studies in which the instant compounds were               Alternatively, these compounds may be encapsulated,
used to treat CHF is that said compounds, in particular                tableted or prepared in a emulsion or syrup for oral admin-
carvedilol, are able to decrease the mortality resulting from          istration. Pharmaceutically acceptable solid or liquid carriers
CHF in humans by about 67 percent. Furthermore, this result            may be added to enhance or stabilize the composition, or to
is present across all classifications of CHF and both etiolo- 65 facilitate preparation of the composition. Liquid carriers
gies (eschemic and non-eschemic). This result is surprising            include syrup, peanut oil, olive oil, glycerin, saline, ethanol,
since two recent mortality studies using the ~-blockers                and water. Solid carriers include starch, lactose, calcium




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sulfate dihydrate, terra alba, magnesium stearate or stearic                             EXPERIMENTAL
acid, talc, pectin, acacia, agar or gelatin. The carrier may
                                                                                 Mortality Studies in CHF Patients
also include a sustained release material such as glyceryl         Su=ary
monostearate or glyceryl distearate, alone or with a wax. The         To determine if ~-adrenergic blockage might inhibit the
amount of solid carrier varies but, preferably, will be            deleterious effects of the sympathetic nervous system on
between about 20 mg to about 1 g per dosage unit. The              survival in heart failure (CHF), 1052 patients with CHF
pharmaceutical preparations are made following the con-            were prospectively enrolled into a multicenter trial program,
ventional techniques of pharmacy involving milling,                in which patients were randomly assigned (double-blind) to
mixing, granulating, and compressing, when necessary, for          6- 12 months' treatment with placebo (PBO) or carvedilol
tablet forms; or milling, mixing and filling for hard gelatin 10 (CRY) .. After a co=on screening period, patients with
capsule forms. When a liquid carrier is used, the preparation      class II- IV CHF (see next paragraph for the definitions of
will be in the form of a syrup, elixir, emulsion or an aqueous     the classification of CHF) and an ejection fraction ~0.35
or non-aqueous suspension. Such a liquid formulation may           were assigned to one of four protocols based on performance
be administered directly p.o. or filled into a soft gelatin        on a 6-minute walk test, PBO or CRV was added to existing
capsule.                                                        15 therapy   with digoxin, diuretics and an ACE inhibitor. All-
    Dosing in humans for the treatment of disease according        cause   mortality was monitored by a prospectively consti-
to the present invention should not exceed a dosage range of       tuted Data and Safety Monitoring Board (DSMB). After 25
from about 3.125 to about 50 mg of the compounds of                months of enrollment, the DSMB reco=ended termination
Formula I, particularly carvedilol, preferably given twice         of the program because of a favorable effect of CRV on
                                                                   survival. By intention-to-treat, mortality was 8.2% in the
daily. As one of ordinary skill in the art will readily 20
                                                                   PBO group but only 2.9% in the CRV group (P=0.0001 ,
comprehend, the patient should be started on a low dosage          Cochran-Mantel-Haensel analysis). This represented a
regimen of the desired compound of Formula I, particularly         reduction in risk of death by CRV of 67% (95% CI: 42% to
carvedilol, and monitored for well-known symptoms of               81% ). The treatment effect was similar in patients with class
intolerance, e.g., fainting, to such compound. Once the            II and class III-IV symptoms. Mortality was reduced in class
patient is found to tolerate such compound, the patient 25 II patients from 5.9% to 1.9%, a 68% reduction (95% CI:
should be brought slowly and incrementally up to the               20% to 97%) [P=0.015,], and in class III- IV patients from
maintenance dose. The preferred course of treatment is to          11.0% to 4.2%, a 67% reduction (95% CI: 30% to 84%),
start the patient on a dosage regimen of either 3.125 or 6.25      [P=0.004, log-rank]. Importantly, the effect of CRV was
mg, preferably given twice daily, for two weeks. The choice        similar in ischemic heart disease (risk reduced by 67%,
of initial dosage most appropriate for the particular patient 30 P=0.003) and in non-ischemic dilated cardiomyopathy (risk
is determined by the practitioner using well-known medical         reduced by 67%, P=0.014). In conclusion, the addition of
principles, including, but not limited to, body weight. In the     CRV to conventional therapy is associated with a substantial
event that the patient exhibits medically acceptable tolerance     (67%) reduction in the mortality of patients with chronic
of the compound for two weeks, the dosage is doubled at the        CHF. The treatment effect is seen across a broad range of
end of the two weeks and the patient is maintained at the 35 severity and etiology of disease.
new, higher dosage for two more weeks, and observed for                As used herein, by "Class II CHF" is meant patients with
 signs of intolerance. This course is continued until the          cardiac disease resulting in slight or moderate limitation of
patient is brought to a maintenance dose. The preferred            physical activity. They are comfortable at rest. Ordinary
maintenance dose is 25 mg, preferably given twice daily, for       physical activity results in fatigue, palpitations, dyspnea, or
patients having a body weight of up to 85 kg. For patients 40 anginal pain. By "Class III CHF" is meant patients with
having a body weight of over 85 kg, the maintenance dose           cardiac disease resulting in marked limitations of physical
is between about 25 mg and about 50 mg, preferably given           activity. They are comfortable at rest. Less than ordinary
twice daily; preferably about 50 mg, preferably given twice        physical activity results in fatigue, palpitations, dyspnea, or
daily.                                                             anginal pain. By "Class IV CHF" is meant patients with
    Dosing in humans for the treatment of disease according 45 cardiac disease resulting in inability to carry on any physical
to the present invention includes the combination of com-          activity without discomfort, symptoms or cardiac
pounds of Formula I with conventional agents. For example,         insufficiency, or of the anginal syndrome. By "less than
the usual adult dosage of hydrochlorothiazide is 25- 100 mg        ordinary physical activity" is meant climbing one flight of
 daily as a single dose or divided dose. The reco=ended            stairs, or walking two hundred yards.
 starting dose for enalapril is 2.5 mg administered once or 50 Design of Study
twice daily. The usual therapeutic dosing range for enalapril          Patients on background therapy with diuretics, ACE
 is 5-20 mg daily, given as a single dose or two divided           inhibitors and/or digoxin were stratified on the basis of
 doses. For most patients the usual initial daily dosage of        baseline submaximal exercise performance, into one of four
 captopril is 25 mg tid, with most patients having a satisfac-     trials:
 tory clinical improvement at 50 or 100 mg tid.                 55     study 220, a dose response study in moderate (NYHA
    It will be appreciated that the actual preferred dosages of    II-IV) CHF with exercise testing as a primary endpoint
 the compounds being used in the compositions of this                  study 221 , a dose titration study in moderate (NYHA
 invention will vary according to the particular composition        II-IV) CHF with exercise testing as a primary endpoint
 formulated, the mode of administration, the particular site of        study 239, a dose titration study in severe (NYHA III- IV)
 administration and the host being treated.                     60 CHF with quality of life as a primary endpoint
    No unacceptable toxicological effects are expected when            study 240, a dose titration study in mild (NYHA II- III)
 the compounds of Formula I, including the compound of              CHF with progression of CHF as a primary endpoint
 Formula II, are used according to the present invention.              Sixty-four centers in the US participated in the trial
    The example which follows is intended in no way to limit        program. All sites conducted protocols 239 and 240, while
 the scope of this invention, but is provided to illustrate how 65 33 performed protocol220 and 31 performed protocol 221.
 to use the compounds of this invention. Many other embodi-            Although each trial had its own individual objectives, the
 ments will be readily apparent to those skilled in the art.        overall program objective defined prospectively was evalu-




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                                                              US RE40,000 E
                                    7                                                                              8
ation of all-cause mortality. Based upon a projected enroll-
ment of 1100 patients, the program had 90% power to detect                                                TABLE 2-continued
a 50% reduction in mortality (two-sided) between carvedilol
and placebo, assuming a mortality rate in the placebo group                                 Evaluation of Mortalitv in US Carvedilol CHF Studies
of 12% over the duration of the trials (a=0.05) .                                                                                 Risk Reduction
   Randomization was preceded by a screening and chal-                                                    Carvedilol Placebo         (95% CI)    p value"
lenge period co=on to the four protocols The purpose of                         Class II CHF                 7/361       12/202         68%       0.015
the screening period was to qualifY patients for study entry,                                              (1.9%)        (5.9%)       (20-97)
obtain reproducible baseline measurements, and stratify                         Class III- IV CHF          11/263        17/154         66%       0.004
patients into the appropriate trial based on submaximal 10                                                 (4.2%)       (11.0%)       (30-84)
                                                                                Ischemic Etology           10/311        16/178         67%       0.003
exercise testing. During the challenge period, patients                                                    (3.2%)        (8.9%)       (32-85)
received low-dose open-label carvedilol (6 .25 mg b.i.d.) for                   Non-Ischemic                 8/313       13/178         67%       0.014
two weeks. Patients unable to tolerate this dose did not                        Etiology                   (2.5%)        (7.3%)       (20-86)
proceed to randomization. Patients tolerating low-dose
carvedilol were then randomized to blinded medication 15 "Cochran-Mantal-Haeneal Analysis
(carvedilol or placebo) with the dose titrated over several                     Conclusion
weeks in the range of 6.25 to 50 mg b.i.d. (or equivalent                          The U.S. Phase III trials were prospectively designed to
level of placebo). The maintenance phase of each study                          evaluate the effects of carvedilol on the wellbeing and
ranged from six to 12 months, after which patients had the                      survival of patients with congestive heart failure. Twenty-
option of receiving open-label carvedilol in an extension 20 five months after the program was initiated, the independent
study.                                                                          Data and Safety Monitoring Board reco=ended that the
                                                                                trials be terminated because of a 67% reduction in all-cause
Results                                                                         mortality. This effect was independent of the underlying
    The analysis presented below corresponds to the data set                    severity or etiology of heart failure.
on which the DSMB made the reco=endation to terminate 25                           The foregoing is illustrative of the use of the compounds
the trials. Included in this intent-to-treat analysis are all                   of this invention. This invention, however, is not limited to
patients enrolled in the U.S. trials as of Jan. 20, 1995; 624                   the precise embodiment described herein, but encompasses
receiving carvedilol and 356 placebo. An analysis of base-                      all modifications within the scope of the claims which
                                                                                follow.
line patient characteristics (Table 1) shows good balance                          What is claimed is:
between the randomized groups.                                               30    1. A method of decreasing mortality caused by congestive
                                                                                heart failure in a patient in need thereof which comprises
                                TABLE 1                                         administering a therapeutically acceptable amount of
                                                                                carvedilol in conjunction with one or more other therapeutic
        US Carvedilol Heart Failure Trials - Reaction Characteristics           agents, said agents being selected from the group consisting
                                                                                of an angiotensin converting enzyme inhibitor (ACE), a
                                               Placebo        Carvedilol     35
Characteristic                                (n ~ 356)        (n ~ 624)        diuretic,    and digoxin,
                                                                                   wherein the administering comprises administering to
Age, mean ± SD (years)                       59.9 ± 11.7     58.8 ± 11.8               said patient daily maintenance dosages for a mainte-
Sex(% men)                                       62%              62%
Etiology(% ischemic)
                                                                                       nance period to decrease a risk of mortality caused by
                                                 43%              40%
 Severity of CFP                                                                       congestive heart failure, and said maintenance period
                                                                             40        is greater than six months.
Class II                                         41%              41%              2. A method according to claim 1 which comprises
Class III-IV                                     40%              39%           administering carvedilol in a dosage range of from about
Unknown                                          19%              20%
LV ejection function, mean ± SD              0.22 ± 0.07     0.25 ± 0.08
                                                                                3.125 to about 50 mg given twice daily.
 6 Minute walk (m ± SD)                       373 ± 88         379 ± 81            3. A method according to claim 1 which comprises
 Blood pressure (mmHg)                          115/73           115/73      45 administering carvedilol in a maintenance dose of about 25
 Heart rate (bpm ± SD)                         85 ± 13          86 ± 13         mg given twice daily.
                                                                                   4. A method according to claim 1 which comprises
                                                                                administering carvedilol in a maintenance dose of between
    The overall mortality results for the program are shown in                  about 25 mg and about 50 mg given twice daily to patients
 Table 2. All deaths that occurred during the intent-to-treat 50 whose weight exceeds about 85 kg.
period are included. Treatment with caredilol resulted in a                        5. A method according to claim 1 which comprises
 67% reduction in the risk of all-cause mortality. Analysis of                  administering carvedilol in a maintenance dose of about 50
mortality by certain baseline characteristics shows this to be                  mg given twice daily in patients whose weight exceed about
 a broad effect regardless of severity or etiology of CHF. The                  85 kg.
 effect was uniform in patients with mild heart failure or                          6. A method according to claim 1 wherein said ACE
                                                                             55
 moderate to severe heart failure. Similarly, the mortality                     inhibitor is captopril, Iisinopril, or enalapril, or any phar-
 reduction was equivalent in patients with ischemic or non-                     maceutically      acceptable salt thereof.
 ischemic heart failure.                                                            7. A method according to claim 1 wherein said diuretic is
                                                                                hydrochlorothiazide or furosemide, or any pharmaceutically
                                TABLE 2                                         acceptable salt thereof.
                                                                             60     8. A method according to claim 1, wherein the daily
            Evaluation of Mortalitv in US Carvedilol CHF Studies                 maintenance dosages and the maintenance period have been
                                                                                shown to statistically decrease the risk of mortality caused
                                                   Risk Reduction                by congestive heart failure.
                          Carvedilol . Placebo        (95% CI)      p value"
                                                                                    9. A method according to claim 1, wherein said patient
 All Cause Mortality        18/624      29/356          67%         <0.0001 65 has class 11-1V congestive heart failure.
                           (2.9%)       (8.2%)      (42-81)




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                      CERTIFICATE OF SERVICE AND FILING

      I certify that I electronically filed the foregoing document using the Court’s

CM/ECF filing system on July 16, 2018. All counsel of record were served via

CM/ECF on July 16, 2018.



                                               /s/ Craig E. Countryman
                                               Craig E. Countryman
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                           CERTIFICATE OF COMPLIANCE

        The undersigned attorney certifies that GSK’s Opening Brief complies with the

type-volume limitation set forth in Fed. R. App. P. 32(a)(7)(B). The relevant portions

of the brief, including all footnotes, contain 13,060 words, as determined by Microsoft

Word.



Dated: July 16, 2018

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